Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 1 of 31 PageID #: 221




                            Exhibit A
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 2 of 31 PageID #: 222


                    U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
                  CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC)

       ORDER UNDER SECTIONS 362 & 365 OF THE PUBLIC HEALTH SERVICE ACT
                     (42 U.S.C. §§ 265, 268) and 42 C.F.R. § 71.40

                     PUBLIC HEALTH DETERMINATION
                                  AND
      ORDER REGARDING THE RIGHT TO INTRODUCE CERTAIN PERSONS FROM
      COUNTRIES WHERE A QUARANTINABLE COMMUNICABLE DISEASE EXISTS



Executive Summary

        The Centers for Disease Control and Prevention (CDC), a component of the U.S. Department of
Health and Human Services (HHS), is hereby issuing this Public Health Determination and Order
Regarding Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable
Communicable Disease Exists (Public Health Determination and Termination). This Public Health
Determination and Termination terminates the Order Suspending the Right to Introduce Certain Persons
from Countries Where a Quarantinable Communicable Disease Exists, issued on August 2, 2021
(August Order), 1 and all related prior orders issued pursuant to the authorities in sections 362 and 365 of
the Public Health Service (PHS) Act (42 U.S.C. §§ 265, 268) and the implementing regulation at 42
C.F.R. § 71.40 (CDC Orders); 2 this Termination will be implemented on May 23, 2022. The August
Order continued a suspension of the right to introduce “covered noncitizens,” as defined in the Order, 3
into the United States along the U.S. land and adjacent coastal borders. 4 The August Order states that
CDC will reassess at least every 60 days whether the Order remains necessary to protect the public
health. Based on the public health landscape, the current status of the COVID-19 pandemic, and the
procedures in place for the processing of covered noncitizens, taking into account the inherent risks of
transmission of SARS-CoV-2 in congregate settings, CDC has determined that a suspension of the right
to introduce such covered noncitizens is no longer necessary to protect U.S. citizens, U.S. nationals,
lawful permanent residents, personnel and noncitizens at the ports of entry (POE) and U.S. Border Patrol
stations, and destination communities in the United States. This Termination will be implemented on
May 23, 2022, to enable the Department of Homeland Security (DHS) to implement appropriate
COVID-19 mitigation protocols, such as scaling up a program to provide COVID-19 vaccinations to

1
  Available at https://www.cdc.gov/coronavirus/2019-ncov/downloads/CDC-Order-Suspending-Right-to-Introduce-_Final_8-
2-21.pdf (last visited Mar. 7, 2022); see also 86 Fed. Reg. 42828 (Aug. 5, 2021).
2
  “CDC Orders” issued under these legal authorities are found at 85 Fed. Reg. 17060 (Mar. 26, 2020), 85 Fed. Reg. 22424
(Apr. 22, 2020), 85 Fed. Reg. 31503 (May 26, 2020), 85 Fed. Reg. 65806 (Oct. 16, 2020), and 86 Fed. Reg. 42828 (Aug. 5,
2021) (fully incorporating by reference 86 Fed. Reg. 38717 (July 22, 2021), see 86 Fed. Reg. 42828, 42829 at note 3).
3
  See infra I.
4
  The August Order specifically excepted unaccompanied noncitizen children (UC) and incorporated an exception for UC
issued by CDC on July 16, 2021 (July Exception). Public Health Determination Regarding an Exception for Unaccompanied
Noncitizen Children from Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable
Communicable Disease Exists, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/more/pdf/NoticeUnaccompaniedChildren.pdf (July 16, 2021); 86 Fed. Reg. 38717 (July 22, 2021); see 86 Fed. Reg.
42828, 42829 at note 1 (Aug. 5, 2021) (which fully incorporated by reference the July Exception relating to UC). On March
11, 2022, CDC fully terminated the August Order and all prior orders issued under the same authorities with respect to UC.
See https://www.cdc.gov/coronavirus/2019-ncov/more/pdf/NoticeUnaccompaniedChildren-update.pdf.

                                                            1
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 3 of 31 PageID #: 223


migrants, and prepare for full resumption of regular migration processing under Title 8 authorities. Until
that date, it is CDC’s expectation that DHS will continue to apply exceptions outlined in the August
Order to covered noncitizens as appropriate, including the exception based on the totality of an
individual’s circumstances on a case-by-case basis.


Outline of Determination and Order

I. Background
   A. Evolution of the COVID-19 Pandemic and the U.S. Government Response
       1. First Wave – January to June 2020
       2. Second Wave – June to August 2020
       3. Third Wave – Alpha Variant – September 2020 to May 2021
       4. Fourth Wave – Delta Variant – June to October 2021
       5. Fifth Wave – Omicron Variant – November 2021 to March 2022
   B. Current Status of the COVID-19 Pandemic
       1. Community Levels
       2. Healthcare Systems and Resources
       3. Mitigation Measures
           a. Test Availability
           b. Vaccines and Boosters
           c. Treatments
       4. Congregate Settings
       5. DHS Mitigation Measures
II. Public Health Determination
III. Legal Considerations
   A. Temporary Nature of Orders under 42 U.S.C. § 265 and Absence of Reliance Interests
   B. Basis for Termination under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40
IV. Issuance and Implementation
   A. Implementation of this Termination
   B. APA Review




                                                    2
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 4 of 31 PageID #: 224


I.       Background

        Coronavirus disease 2019 (COVID-19) is a quarantinable communicable disease 5 caused by the
SARS-CoV-2 virus. As part of U.S. government efforts to mitigate the introduction, transmission, and
spread of COVID-19, CDC issued the August Order, 6 replacing a prior order issued on October 13,
2020 (October Order) which continued a series of orders issued pursuant to 42 U.S.C. §§ 265, 268 and
the implementing regulation at 42 C.F.R. § 71.40, 7 suspending the right to introduce 8 certain persons
into the United States from countries or places where the quarantinable communicable disease exists in
order to protect the public health from an increased risk of the introduction of COVID-19. 9 The August
Order applied specifically to “covered noncitizens,” defined as “persons traveling from Canada or
Mexico (regardless of their country of origin) who would otherwise be introduced into a congregate
setting in a POE or U.S. Border Patrol station 10 at or near the U.S. land and adjacent coastal borders
subject to certain exceptions detailed below; this includes noncitizens who do not have proper travel
documents, noncitizens whose entry is otherwise contrary to law, and noncitizens who are apprehended
at or near the border seeking to unlawfully enter the United States between POE.” 11

        Three groups typically make up covered noncitizens—single adults (SA), 12 individuals in family
units (FMU), 13 and unaccompanied noncitizen children (UC). 14 UC were specifically excepted from the



5
  Quarantinable communicable diseases are any of the communicable diseases listed in Executive Order 13295, as provided
under § 361 of the Public Health Service Act (42 U.S.C. § 264), 42 C.F.R. § 71.1. The list of quarantinable communicable
diseases currently includes cholera, diphtheria, infectious tuberculosis, plague, smallpox, yellow fever, viral hemorrhagic
fevers (Lassa, Marburg, Ebola, Crimean-Congo, South American, and others not yet isolated or named), severe acute
respiratory syndromes (including Middle East Respiratory Syndrome and COVID-19), influenza caused by novel or
reemergent influenza viruses that are causing, or have the potential to cause, a pandemic, and measles. See Exec. Order
13295, 68 Fed. Reg. 17255 (Apr. 4, 2003), as amended by Exec. Order 13375, 70 Fed. Reg. 17299 (Apr. 1, 2005) and Exec.
Order 13674, 79 Fed. Reg. 45671 (July 31, 2014), 86 Fed. Reg. 52591 (Sep. 22, 2021).
6
  See supra note 1.
7
  Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease
Exists, 85 Fed. Reg. 65806 (Oct. 16, 2020). The October Order replaced the Order Suspending Introduction of Certain
Persons from Countries Where a Communicable Disease Exists, issued on March 20, 2020 (March Order), which was
subsequently extended and amended. Notice of Order Under Sections 362 and 365 of the Public Health Service Act
Suspending Introduction of Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17060
(Mar. 26, 2020); Extension of Order Under Sections 362 and 365 of the Public Health Service Act; Order Suspending
Introduction of Certain Persons From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 22424 (Apr. 22, 2020);
Amendment and Extension of Order Under Sections 362 and 365 of the Public Health Service Act; Order Suspending
Introduction of Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed. Reg. 31503 (May 26, 2020).
8
  Suspension of the right to introduce means to cause the temporary cessation of the effect of any law, rule, decree, or order
pursuant to which a person might otherwise have the right to be introduced or seek introduction into the United States. 42
C.F.R. § 71.40(b)(5).
9
  See supra note 2.
10
   POE and U.S. Border Patrol stations are operated by U.S. Customs and Border Protection (CBP), an agency within
Department of Homeland Security (DHS).
11
   86 Fed. Reg. 42828, 42841.
12
   A single adult (SA) is any noncitizen adult 18 years or older who is not an individual in a “family unit.” 86 Fed. Reg.
42828, 42830 at note 13.
13
   An individual in a family unit (FMU) includes any individual in a group of two or more noncitizens consisting of a minor
or minors accompanied by their adult parent(s) or legal guardian(s). Id. at note 14.
14
   CDC understands UC to be a class of individuals similar to or the same as those individuals who would be considered
“unaccompanied alien children” (see 6 U.S.C. § 279) for purposes of HHS Office of Refugee Resettlement custody, were
DHS to make the necessary immigration determinations under Title 8 of the U.S. Code. 86 Fed. Reg. 38717, 38718 at note 4.

                                                              3
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 5 of 31 PageID #: 225


August Order 15 based on its explicit incorporation by reference of CDC’s July Exception of UC. 16 On
March 11, 2022, CDC fully terminated the August Order and all previous orders issued under 42 U.S.C.
§§ 265, 268 and 42 C.F.R. § 71.40 with respect to UC. This termination with respect to UC was based
on a thorough determination of the current status of the COVID-19 pandemic as well as an analysis of
the specific care available to UC 17 and the absence of legitimate countervailing reliance interests, and
was prioritized ahead of CDC’s reassessment for SA and FMU in light of the entry of a preliminary
injunction by the U.S. District Court for the Northern District of Texas that was to go into effect on
March 11, 2022, enjoining CDC from excepting UC from the August Order based solely on their status
as UC. 18

        The CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 were intended to
reduce the risk of COVID-19 introduction, transmission, and spread at POE and U.S. Border Patrol
stations by significantly reducing the number and density of covered noncitizens held in these
congregate settings, thereby reducing risks to U.S. citizens, U.S. nationals, lawful permanent residents,
DHS and U.S. Customs and Border Protection (CBP) personnel and noncitizens at the facilities, and
local healthcare systems. The measures included in the CDC Orders were deemed necessary for the
protection of public health.

        In the August Order, CDC committed to reassessing the public health circumstances
necessitating the Order at least every 60 days by reviewing the latest information regarding the status of
the COVID-19 public health emergency and associated public health risks, including migration patterns,
sanitation concerns, and any improvement or deterioration of conditions at the U.S. borders. 19 CDC
conducted its most recent reassessment on January 28, 2022; in addition, a reassessment specific to UC
was completed on March 11, 2022. The instant Public Health Determination and Termination considers
the current status of the pandemic, including the receding numbers of COVID-19 cases, hospitalizations,
and deaths most recently related to the Omicron variant, and constitutes the reassessment concluding on
March 30, 2022. This Determination and Termination also reflects the recent issuance of CDC’s
COVID-19 Community Levels framework. 20 Additionally, the National COVID-19 Preparedness Plan
was recently updated to provide a roadmap to help the nation continue fighting COVID-19, while also
allowing resumption of more normal routines. 21

       Based on the analysis below, the CDC Director finds that, pursuant to 42 U.S.C. § 265 and 42
C.F.R. § 71.40, there is no longer a serious danger that the entry of covered noncitizens, as defined by
15
   86 Fed. Reg. 42828, 42829 at note 3.
16
   See supra note 4.
17
   While SA, FMU, and UC are all processed by U.S. Customs and Border Protection (CBP), a component of DHS, following
that initial intake, UC are referred to HHS’ Office of Refugee Resettlement (ORR) for care. See 86 Fed. Reg. 42828, 42835-
37 (describing the processing of noncitizen SA and FMU by DHS components, CBP and Immigration and Customs
Enforcement (ICE), under both regular Title 8 immigration and under an order pursuant to 42 U.S.C. § 265). At both the CBP
and ORR stages, UC receive special attention. This care and the distinct immigration processing available to UC compared to
SA and FMU provided the basis for the exception of UC in the July Exception and the August Order. See 86 Fed. Reg.
42828, 42835-37 (describing the processing of noncitizen SA and FMU by DHS components, CBP and ICE, under both
regular Title 8 immigration and under an order pursuant to 42 U.S.C. § 265); see also 87 Fed. Reg. 15243, 15246-47 (Mar.
17, 2022) (describing the different COVID-19 mitigation measures applied where UC are processed).
18
   Texas v. Biden, No. 4:21-cv-0579-P, 2022 WL 658579, at *16-18 (N.D. Tex. Mar. 4, 2022).
19
   86 Fed. Reg. 42828, 42841.
20
   COVID-19 Community Levels, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/science/community-levels.html (updated Mar. 24, 2022); see infra I.B.1.
21
   National COVID-19 Preparedness Plan – March 2022, available at https://www.whitehouse.gov/wp-
content/uploads/2022/03/NAT-COVID-19-PREPAREDNESS-PLAN.pdf (last visited Mar. 30, 2022).

                                                            4
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 6 of 31 PageID #: 226


the August Order, into the United States will result in the introduction, transmission, and spread of
COVID-19 and that a suspension of the introduction of covered noncitizens is no longer required in the
interest of public health. While the introduction, transmission, and spread of COVID-19 into the United
States is likely to continue to some degree, the cross-border spread of COVID-19 due to covered
noncitizens does not present the serious danger to public health that it once did, given the range of
mitigation measures now available. CDC continues to stress the need for robust COVID-19 mitigation
measures at the border, including vaccination and continued masking in congregate settings. CDC has
determined that the extraordinary measure of an order under 42 U.S.C. § 265 is no longer necessary,
particularly in light of less burdensome measures that are now available to mitigate the introduction,
transmission, and spread of COVID-19. Therefore, as described below, CDC is terminating the August
Order and all related prior orders issued pursuant to 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40. This
Termination will be implemented on May 23, 2022, to enable DHS to implement appropriate COVID-19
protocols, such as scaling up a program to offer COVID-19 vaccinations to migrants, and prepare for
full resumption of regular migration under Title 8 authorities.

     A.      Evolution of the COVID-19 Pandemic and the U.S. Government Response

        Since late 2019, SARS-CoV-2, the virus that causes COVID-19, has spread throughout the
world, resulting in a pandemic. As of March 30, 2022, there have been over 480 million confirmed cases
of COVID-19 globally, resulting in over six million deaths. 22 The United States has reported over 79
million cases resulting in over 975,000 deaths due to the disease 23 and is currently averaging around
26,000 new cases of COVID-19 a day as of March 28, 2022. 24

       The U.S. government response to the COVID-19 pandemic has focused on taking actions and
providing guidance based on the best available scientific information. The United States has experienced
five waves of the pandemic, each with its own unique epidemiologic characteristics. 25 As the waves of
COVID-19 cases have surged and ebbed, so too have actions taken in response to the pandemic. Earlier
phases of the pandemic required extraordinary actions by the U.S. government and society at large.
However, epidemiologic data, scientific knowledge, and the availability of public health mitigation
measures, vaccines, and therapeutics have permitted many of those early actions to be relaxed in favor
of more nuanced, targeted, and narrowly tailored guidance that provides a less burdensome means of
preventing and controlling the SARS-CoV-2 virus and COVID-19. Of note for this Determination are
the multiple travel- and migration-related measures taken by the U.S. government in each phase.

          1. First Wave – January to June 2020

     SARS-CoV-2 was first identified as the cause of an outbreak of respiratory illness that began in
Wuhan, Hubei Province, People’s Republic of China. 26 The United States reported its first COVID-19
22
   Coronavirus disease (COVID-19) pandemic, World Health Organization, https://covid19.who.int/ (last visited Mar. 30,
2022).
23
   COVID Data Tracker, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#datatracker-
home (last visited Mar. 30, 2022).
24
   See Trends in Number of COVID-19 Cases and Deaths in the US Reported to CDC, by State/Territory, Centers for Disease
Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#trends_dailycases, noting a seven-day moving average of
26,190 cases on March 28, 2022.
25
   Supra note 21.
26
   Patel A, Jernigan DB. Initial Public Health Response and Interim Clinical Guidance for the 2019 Novel Coronavirus
Outbreak — United States, December 31, 2019–February 4, 2020. MMWR Morb Mortal Wkly Rep 2020;69:140–146. DOI:
http://dx.doi.org/10.15585/mmwr.mm6905e1.

                                                            5
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 7 of 31 PageID #: 227


case on January 21, 2020, 27 and the HHS Secretary declared COVID-19 a public health emergency on
January 31, 2020. 28 Community transmission was detected in the United States in February 2020. 29
COVID-19 cases initially spread in a small number of U.S. metropolitan areas, most notably in New
York City and surrounding areas. 30 The resulting first wave of the pandemic peaked in the United States
on April 7, 2020, with two million cases (3% of cumulative cases) and over 127,000 deaths (13% of
cumulative deaths). 31 During this period, public health officials monitored the situation closely and
began instituting community-level nonpharmaceutical interventions such as school closures and physical
distancing, in addition to promoting respiratory and hand hygiene practices. 32 Vaccines and approved
therapeutics were not available during this time. 33

        As public health officials learned more about the epidemiology of SARS-CoV-2, the U.S.
government, state and local health departments, and other partners implemented aggressive measures to
slow transmission of the virus in the United States. 34 Many of the mitigation actions taken by the U.S.
government during this wave involved travel and migration. The President issued a series of actions
limiting entry into the United States, including proclamations suspending entry into the country of
immigrants or nonimmigrants who were physically present within certain countries during the 14-day
period preceding their entry or attempted entry, 35 and Canada and Mexico joined the United States in
temporarily restricting travelers across land borders for non-essential purposes. 36 CDC began screening
travelers from certain countries at airports and issued several travel health notices 37 and, following a
series of COVID-19 outbreaks on cruise ships, issued a No Sail Order and Suspension of Further
Embarkation. 38


27
   Id.
28
   Determination that a Public Health Emergency Exists, U.S. Department of Health and Human Services (Jan. 31, 2020),
https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx (last visited Mar. 30, 2022).
29
   Geographic Differences in COVID-19 Cases, Deaths, and Incidence — United States, February 12–April 7, 2020. MMWR
Morb Mortal Wkly Rep 2020;69:465–471. DOI: http://dx.doi.org/10.15585/mmwr.mm6915e4.
30
   Id.
31
   Case notifications from state, local and territorial public health jurisdictions, Centers for Disease Control and Prevention,
https://data.cdc.gov/Case-Surveillance/COVID-19-Case-Surveillance-Public-Use-Data/vbim-akqf, (last accessed Mar. 30,
2022); Provisional COVID-19 Death Counts by Week Ending Date and State, Centers for Disease Control and Prevention,
https://data.cdc.gov/NCHS/Provisional-COVID-19-Death-Counts-by-Week-Ending-D/r8kw-7aab (last accessed Mar. 30,
2022); COVID-19 Reported Patient Impact and Hospital Capacity by State Timeseries, Unified Hospital Analytic,
https://healthdata.gov/Hospital/COVID-19-Reported-Patient-Impact-and-Hospital-Capa/g62h-syeh (last accessed Mar. 30,
2022).
32
   Jernigan DB. Update: Public Health Response to the Coronavirus Disease 2019 Outbreak — United States, February 24,
2020. MMWR Morb Mortal Wkly Rep 2020;69:216–219. DOI: http://dx.doi.org/10.15585/mmwr.mm6908e1.
33
   Id.
34
   See supra note 26.
35
   See Proclamation 9984 (Jan. 31, 2020), 85 Fed. Reg. 6709 (Feb. 5, 2020) (regarding the People’s Republic of China);
Proclamation 9992 (Feb. 28, 2020), 85 Fed. Reg. 12855 (Mar. 4, 2020) (regarding the Republic of Iran); Proclamation 9993
(Mar. 11, 2020), 85 Fed. Reg. 15045 (Mar. 16, 2020) (regarding the Schengen Area of Europe); Proclamation 9996 (Mar. 14,
2020), 85 Fed. Reg. 15341 (Mar. 18, 2020) (regarding the United Kingdom and Republic of Ireland); and Proclamation
10041, as amended by Proclamation 10042 (May 24, 2020), 85 Fed. Reg. 31933 (May 28, 2020) (regarding the Federative
Republic of Brazil).
36
   See 85 Fed. Reg. 16547 (Mar. 24, 2020); 85 Fed. Reg. 16548 (Mar. 24, 2020).
37
   Supra note 32; see also CDC Advises Travelers to Avoid All Nonessential Travel to China, Centers for Disease Control and
Prevention, https://www.cdc.gov/media/releases/2020/s0128-travelers-avoid-china.html (Jan. 28, 2020), advising travelers to
avoid all nonessential travel to countries with known viral spread.
38
   85 Fed. Reg. 16628 (Mar. 24, 2020); extended 85 Fed. Reg. 21004 (Apr. 15, 2020); see also Moriarty LF, Plucinski MM,
Marston BJ, et al. Public Health Responses to COVID-19 Outbreaks on Cruise Ships — Worldwide, February–March 2020.
MMWR Morb Mortal Wkly Rep 2020;69:347-352. DOI: http://dx.doi.org/10.15585/mmwr.mm6912e3.

                                                               6
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 8 of 31 PageID #: 228


        It was in the context of this initial wave of the pandemic and travel- and migration-related
actions that the CDC Director promulgated an interim final rule at 42 C.F.R. § 71.40 implementing his
authority under 42 U.S.C. §§ 265, 268 39 and issued an Order under the interim final rule suspending the
introduction of certain “covered aliens” on March 20, 2020 (March Order). 40 The March Order sought to
avert the serious danger of the introduction of COVID–19 into the land POEs and Border Patrol stations
at or near the United States borders with Canada and Mexico due to encountered noncitizens otherwise
being held in the common areas of the facilities and in close proximity to one another as they undergo
immigration processing. The March Order applied to SA, FMU, and UC and was subsequently amended
and extended in April and May 2020. 41

        2. Second Wave – June to August 2020

         During the second wave of the pandemic, from approximately June to August 2020, COVID-19
spread geographically throughout the United States. 42 Case numbers peaked on July 14, 2020, and in
total the second wave resulted in approximately 2.6 million COVID-19 cases (4% of cumulative cases)
and over 75,000 deaths (4% of cumulative deaths). During the second wave, public health officials and
scientists learned more about COVID-19 transmission, including asymptomatic transmission, 43
particularly in congregate, high-density settings, such as meat-packing plants and correctional
facilities. 44 The medical community learned more about potential effects of COVID-19 on specific
populations, such as pregnant people, 45 the elderly, and immunocompromised people. In July 2020,
CDC announced that cloth face coverings (masks) are a critical public health tool in reducing the spread
of COVID-19, particularly when used universally within communities.46 As stay-at-home orders issued
during the first wave were lifted, CDC continued to promote broad implementation of masking and face
covering requirements. 47 One pivotal marker of the second wave was the creation of Operation Warp

39
   See 85 Fed. Reg. 16559 (Mar. 24, 2020).
40
   See 85 Fed. Reg. 17060 (Mar. 26, 2020).
41
   See supra note 7.
42
   Oster AM, Kang GJ, Cha AE, et al. Trends in Number and Distribution of COVID-19 Hotspot Counties — United States,
March 8–July 15, 2020. MMWR Morb Mortal Wkly Rep 2020;69:1127–1132. DOI:
http://dx.doi.org/10.15585/mmwr.mm6933e2.
43
   Payne DC, Smith-Jeffcoat SE, Nowak G, et al. SARS-CoV-2 Infections and Serologic Responses from a Sample of U.S.
Navy Service Members — USS Theodore Roosevelt, April 2020. MMWR Morb Mortal Wkly Rep 2020;69:714–721. DOI:
http://dx.doi.org/10.15585/mmwr.mm6923e4.
44
   Dyal JW, Grant MP, Broadwater K, et al. COVID-19 Among Wo
States, April 2020. MMWR Morb Mortal Wkly Rep 2020;69:557–561. DOI: http://dx.doi.org/10.15585/mmwr.mm6918e3;
see also Hagan LM, Williams SP, Spaulding AC, et al. Mass Testing for SARS-CoV-2 in 16 Prisons and Jails — Six
Jurisdictions, United States, April–May 2020. MMWR Morb Mortal Wkly Rep 2020;69:1139–1143. DOI:
http://dx.doi.org/10.15585/mmwr.mm6933a3; Njuguna H, Wallace M, Simonson S, et al. Serial Laboratory Testing for
SARS-CoV-2 Infection Among Incarcerated and Detained Persons in a Correctional and Detention Facility — Louisiana,
April–May 2020. MMWR Morb Mortal Wkly Rep 2020;69:836-840. DOI: http://dx.doi.org/10.15585/mmwr.mm6926e2.
45
   Ellington S, Strid P, Tong VT, et al. Characteristics of Women of Reproductive Age with Laboratory-Confirmed SARS-
CoV-2 Infection by Pregnancy Status — United States, January 22–June 7, 2020. MMWR Morb Mortal Wkly Rep
2020;69:769–775. DOI: http://dx.doi.org/10.15585/mmwr.mm6925a1.
46
   CDC calls on Americans to wear masks to prevent COVID-19 spread (press release), Centers for Disease Control and
Prevention, https://www.cdc.gov/media/releases/2020/p0714-americans-to-wear-masks.html (Jul. 14, 2020) (noting the
growing body of evidence supporting cloth face coverings as a source control to help prevent the person wearing the mask
from spreading COVID-19 to others; the main protection individuals gain from masking occurs when others in their
communities also wear face coverings).
47
   Hendrix MJ, Walde C, Findley K, Trotman R. Absence of Apparent Transmission of SARS-CoV-2 from Two Stylists After
Exposure at a Hair Salon with a Universal Face Covering Policy — Springfield, Missouri, May 2020. MMWR Morb Mortal
Wkly Rep 2020;69:930-932. DOI: http://dx.doi.org/10.15585/mmwr.mm6928e2.

                                                           7
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 9 of 31 PageID #: 229


Speed, a partnership between the HHS and Department of Defense (DOD) aimed to help accelerate the
development of a COVID-19 vaccine. 48

        As concerns about asymptomatic transmission grew and vaccines and therapeutics were still
being developed, the U.S. government continued to take steps to protect the public health. CDC
extended the No Sail Order and Suspension of Further Embarkation for cruise ships 49 and, as the second
wave was being replaced by the third, issued an Order temporarily halting evictions in the United States
due to the potential for accelerated transmission in congregate settings such as shelters for displaced
persons. 50 The CDC Order under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 issued in March 2020
and amended and extended in April and May 2020, continued to be in place throughout this period.

        3. Third Wave – Alpha Variant – September 2020 to May 2021

        COVID-19 variants, including the B.1.1.7 (Alpha) variant, emerged in the fall of 2020, heralding
the third wave of the pandemic 51 and resulting in 22.5 million COVID-19 cases (34% of cumulative
cases) and over 398,000 deaths (21% of cumulative deaths) in the United States. 52 The third wave lasted
from approximately September 2020 to May 2021 and coincided with the initial availability of vaccines
for COVID-19 53 and increased availability of therapeutics. 54 Even as the third wave began to ebb,
however, a new variant—B.1.617.2 (Delta)—began circulating in India and other countries.

        The U.S. government responded to the Alpha variant and resulting surge in cases with additional
travel- and migration-related restrictions, beginning with a requirement for air passengers from the
United Kingdom (where the Alpha variant was first identified) to present a negative COVID-19 test


48
   Operation Warp Speed: Accelerated COVID-19 Vaccine Development Status and Efforts to Address Manufacturing
Challenges, Government Accountability Office, https://www.gao.gov/products/gao-21-319 (Feb. 11, 2021).
49
   See 85 Fed. Reg. 44085 (July 21, 2020).
50
   See 85 Fed. Reg. 55292 (Sept. 4, 2020). The CDC Director subsequently renewed the “eviction moratorium” Order until
March 31, 2021 (86 Fed. Reg. 8020 (Feb. 3, 2021)), then modified and extended the Order until June 30, 2021 (86 Fed. Reg.
16731 (Mar. 31, 2021)) and extended the Order until July 31, 2021 (86 Fed. Reg. 34010 (Jun. 28, 2021)). On August 3, 2021,
the CDC Director announced a new Order to temporarily halt residential evictions in communities with substantial or high
transmission of COVID-19 to prevent the further spread of COVID-19 (86 Fed. Reg. 43244 (Aug. 6, 2021)).
51
   Science Brief: Emerging SARS-CoV-2 Variants – Updated, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/scientific-brief-emerging-variants.html (updated Jan. 28,
2021).
52
   Per internal CDC calculations.
53
   COVID-19 vaccines were initially available only for those persons with higher risk of COVID-19, such as
immunocompromised individuals and healthcare workers, but access was subsequently expanded to the general population
aged 16 years and older. The U.S. Food and Drug Administration (FDA) issued emergency use authorizations for three
COVID-19 vaccines: two mRNA vaccines (produced by Pfizer-BioNTech and Moderna) and one viral vector vaccine
(produced by Johnson & Johnson/Janssen); see generally https://www.fda.gov/emergency-preparedness-and-response/mcm-
legal-regulatory-and-policy-framework/emergency-use-authorization#coviddrugs; Dooling K, McClung N, Chamberland M,
et al. The Advisory Committee on Immunization Practices’ Interim Recommendation for Allocating Initial Supplies of
COVID-19 Vaccine — United States, 2020. MMWR Morb Mortal Wkly Rep 2020;69:1857-1859. DOI:
http://dx.doi.org/10.15585/mmwr.mm6949e1. In May 2021, adolescents 12 to 15 years old became eligible to receive
COVID-19 vaccines. Wallace M, Woodworth KR, Gargano JW, et al. The Advisory Committee on Immunization Practices’
Interim Recommendation for Use of Pfizer-BioNTech COVID-19 Vaccine in Adolescents Aged 12–15 Years — United States,
May 2021. MMWR Morb Mortal Wkly Rep 2021;70:749–752. DOI: http://dx.doi.org/10.15585/mmwr.mm7020e1.
54
   U.S. Food and Drug Administration, Emergency Use Authorization, https://www.fda.gov/emergency-preparedness-and-
response/mcm-legal-regulatory-and-policy-framework/emergency-use-authorization#coviddrugs (last accessed Mar. 30,
2022).

                                                            8
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 10 of 31 PageID #: 230


result before boarding a flight to the United States; 55 CDC subsequently expanded the predeparture
testing requirement to air passengers departing to the United States from any foreign country. 56 Due to
the inherent risk of transmission of COVID-19 in the travel context, 57 CDC also issued an Order
requiring face masks to be worn while on conveyances traveling into, within, or out of the United States
and at U.S. transportation hubs. 58 Based on developments with respect to variants and the continued
spread of COVID-19, the U.S. government expanded the list of countries from which entry into the
United States was limited. 59 CDC also announced a Conditional Sailing Order framework under which
cruise ships could resume passenger operations only after meeting stringent public health mitigation
measures, such as frequent testing of crew members. 60

        In October 2020, following the promulgation of the Final Rule for 42 C.F.R. § 71.40, 61 CDC
published a new Order under 42 U.S.C. §§ 265 and 268 and the regulation suspending the right to
introduce certain covered persons into the United States. 62 As with all prior CDC Orders, the October
Order applied to “covered aliens,” which included certain SA, FMU, and UC seeking entry into the
United States without valid travel documents and provided certain exceptions, including a case-by-case
exception to be applied by CBP officers with supervisor approval upon a determination that an
individual should be excepted from application of the Order based on the totality of the circumstances,
including consideration of significant law enforcement, officer and public safety, humanitarian, and
public health interests. The October Order was the subject of litigation regarding its application to both
FMU and UC. 63

55
   CDC to Require Negative COVID-19 Test for Air Travelers from the United Kingdom to the U.S., Centers for Disease
Control and Prevention, https://www.cdc.gov/media/releases/2020/s1224-CDC-to-require-negative-test.html (Dec. 24, 2020).
56
   See 86 Fed. Reg. 7387 (Jan. 26, 2021).
57
   CDC has issued orders and guidance focusing on the “travel context,” which encompasses both conveyances and
transportation hubs, because these are locations where large numbers of people may gather and physical distancing can be
difficult. Furthermore, many people need to take public transportation for their livelihoods. Passengers (including young
children) may be unvaccinated and some on board, including personnel operating the conveyances or working at the
transportation hub, may have underlying health conditions that cause them to be at increased risk of severe illness (i.e., those
who might not be protected by vaccination because of weakened immune systems). Such people may not have the option to
disembark or relocate to another area of the conveyance. Transportation hubs are also places where people depart to different
geographic locations, both across the United States and around the world. Therefore, an exposure in a transportation hub can
have consequences to many destination communities if people become infected after they travel. See Requirement for Face
Masks on Public Transportation Conveyances and at Transportation Hubs, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/travelers/face-masks-public-transportation.html (updated Feb. 25, 2022).
58
   Id.
59
   This included restrictions and suspension of entry of noncitizens (immigrants and nonimmigrants) who were present within
the European Schengen Area, the United Kingdom (excluding overseas territories outside of Europe), the Republic of
Ireland, the Federative Republic of Brazil, the Republic of South Africa, and the Republic of India in the 14-day period prior
to attempted entry. See Proclamation 10143 (Jan. 25, 2021), 86 Fed. Reg. 7467 (Jan. 28, 2021) (regarding the Schengen Area
of Europe, the United Kingdom, the Republic of Ireland, the Federative Republic of Brazil, and the Republic of South
Africa); Proclamation 10199 (Apr. 30, 2021), 86 Fed. Reg. 24297 (May 6, 2021) (regarding the Republic of India).
60
   See 86 Fed. Reg. 59720 (Oct. 28, 2021). The Order was extended in April, May, and October 2021.
61
   See 85 Fed. Reg. 56424 (Sept. 11, 2020).
62
   Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease
Exists, 85 Fed. Reg. 65806 (Oct. 16, 2020).
63
   For example, on November 18, 2020, the United States District Court for the District of Columbia preliminarily enjoined
the U.S. government from expelling UC pursuant to the October 2020 Order. PJES v. Mayorkas, No. 1:20–cv–02245
(D.D.C.), Dkt. Nos. 79–80. While prohibited from expelling UC, the U.S. government worked to create solutions for the
appropriate care of UC pursuant to regular immigration authorities. On Friday, January 29, 2021, the United States Court of
Appeals for the District of Columbia Circuit granted a stay pending appeal of the District Court’s preliminary injunction
(PJES v. Mayorkas, No. 20–5357, Doc. No. 1882899), thereby permitting CDC and DHS to resume enforcement of the


                                                               9
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 11 of 31 PageID #: 231


        4. Fourth Wave – Delta Variant – June to October 2021

        The COVID-19 pandemic’s fourth wave lasted from June to October 2021 and was characterized
by the spread of the Delta variant in the United States; during this period the United States experienced
9.8 million cases (15% of cumulative cases) and over 179,000 deaths (9% of cumulative deaths). 64
Vaccines were widely available during the fourth wave and uptake rose slightly throughout this period. 65

         Given the predictable global spread of the virus, the effectiveness of COVID-19 vaccines, and
the rising availability of COVID-19 vaccines globally, and recognizing the need to allow the domestic
and global economy to continue recovering from the effects of the pandemic, the President issued a
Proclamation reflecting the United States’ desire to move away from the country-by-country restrictions
previously applied during the COVID-19 pandemic and to adopt an air travel policy that relies primarily
on vaccination to advance the safe resumption of international air travel to the United States. 66 The
Proclamation was followed by a suite of travel-related mitigation measures. 67 Even as available
mitigation measures allowed the U.S. government to shift its pandemic approach in the travel context,
the country continued to see a surge in COVID-19 cases caused by the Delta variant necessitating
different measures in non-travel contexts. For example, as a result, the CDC Director extended the
aforementioned eviction moratorium 68 for persons in counties experiencing substantial or high rates of
transmission. 69

       During the fourth wave, CDC also issued the July Exception excepting UC from the October
2020 Order, which followed CDC’s decision in January 2021 to temporarily except UC from expulsion
pending a public health reassessment of the October Order. 70 The October 2020 Order was subsequently
replaced by the August Order under 42 U.S.C. §§ 265 and 268 and 42 C.F.R. § 71.40, which fully
incorporated the July Exception. The August Order explained why the mitigation measures specific to
UC and discussed in the July Exception were not available to SA and FMU and, thus, why the August
Order applied only to SA and FMU. 71 As with many of the other actions taken by the U.S. government



October Order and immediately expel UC. On January 30, 2021, CDC exercised its discretion to temporarily except UC from
expulsion pending the outcome of its public health reassessment of the October Order. See 86 Fed. Reg. 9942 (Feb. 17,
2021).
64
   Per internal CDC calculations.
65
   Trends in Number of COVID-19 Vaccinations in the US, Centers for Disease Control and Prevention,
https://covid.cdc.gov/covid-data-tracker/#vaccination-trends (last updated Mar. 29, 2022).
66
   See Proclamation 10294 (Oct. 25, 2021), 86 Fed. Reg. 59603 (Oct. 28, 2021) (terminating the suspension of entry into the
United States regarding the People’s Republic of China, the Republic of Iran, the Schengen Area of Europe, the United
Kingdom and Republic of Ireland, the Federative Republic of Brazil, the Republic of South Africa, and the Republic of
India).
67
   Including amending the Requirement for Proof of Negative COVID-19 Test or Recovery from COVID-19 for All Air
Passengers Arriving in the United States (https://www.cdc.gov/quarantine/fr-proof-negative-test.html) to shorten the time
window for predeparture testing to one day for air passengers who were not fully vaccinated against COVID-19; Order
Requiring Airlines to Collect Contact Information for All Passengers Arriving into the United States
(https://www.cdc.gov/quarantine/order-collect-contact-info.html), and the Order Implementing Presidential Proclamation on
Safe Resumption of Global Travel During the COVID-19 Pandemic, which required all non-U.S.-citizen, non-immigrants,
with limited exceptions, traveling to the United States by air to be fully vaccinated against COVID-19 and show proof of
vaccination (https://www.cdc.gov/quarantine/order-safe-travel.html).
68
   See 85 Fed. Reg. 55292, (Sept. 4, 2020).
69
   See 86 Fed. Reg. 43244, (Aug. 6, 2021).
70
   See supra note 63.
71
   86 Fed. Reg. 42828, 42837-38.

                                                            10
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 12 of 31 PageID #: 232


during this wave, the August Order was predicated, in part, on the significant increase in community
transmission levels brought forth by the Delta variant.

        5. Fifth Wave – Omicron Variant – November 2021 to March 2022

        The highly infectious SARS-CoV-2 variant B.1.1.529 (Omicron) is responsible for the currently
receding fifth wave of the pandemic. The fifth wave resulted in an extraordinary and unparalleled
increase in COVID-19 cases around the world. 72 Although the emergence of the Omicron variant
resulted in the highest reported numbers of cases and hospitalizations during the pandemic, disease
severity indicators, including hospital length of stay, intensive care unit admissions, and deaths,
remained lower than during previous pandemic waves. 73 As a result of the Omicron surge, the United
States experienced almost 24 million cases (36% of cumulative cases); given this volume of cases,
however, the resulting number of deaths in the United States (163,000 deaths, or 9% of cumulative
deaths) was comparatively small. 74 Vaccination efforts continued across the country during this fifth
wave and were expanded to include children aged 5 to 11 years. 75 Despite breakthrough cases due to
Omicron, vaccines continued to provide substantial protection against severe illness, hospitalizations,
and deaths due to COVID-19. 76

        Although the COVID-19 public health emergency continues, 77 scientific understanding about the
epidemiology of COVID-19 and its variants as well as the effectiveness of pharmaceuticals and
nonpharmaceutical interventions have substantially expanded, allowing the U.S. government and CDC
to transition to a more narrowly tailored set of tools to prevent and control the spread of the SARS-CoV-
2 virus and COVID-19. The U.S. government continues to pivot away from country-specific measures.
Following the temporary issuance of country-based restrictions as Omicron emerged, 78 all country-based


72
   Omicron was first reported to the World Health Organization (WHO) by South Africa on November 24, 2021; on
November 26, 2021, WHO designated it a Variant of Concern (VOC). On November 30, 2021, the U.S. also decided to
classify Omicron as a VOC. This decision was based on a number of factors, including detection of cases attributed to
Omicron in multiple countries, even among persons without travel history, transmission and replacement of Delta as the
predominant variant in South Africa, changes in the spike protein of the virus, and concerns about potential decreased
effectiveness of vaccination and treatments.
73
   Iuliano AD, Brunkard JM, Boehmer TK, et al. Trends in Disease Severity and Health Care Utilization During the Early
Omicron Variant Period Compared with Previous SARS-CoV-2 High Transmission Periods — United States, December
2020–January 2022. MMWR Morb Mortal Wkly Rep. ePub: 25 January 2022. DOI:
http://dx.doi.org/10.15585/mmwr.mm7104e4; see also supra note 26.
74
   Per internal CDC calculations.
75
   Woodworth KR, Moulia D, Collins JP, et al. The Advisory Committee on Immunization Practices’ Interim
Recommendation for Use of Pfizer-BioNTech COVID-19 Vaccine in Children Aged 5–11 Years — United States, November
2021. MMWR Morb Mortal Wkly Rep 2021;70:1579–1583. DOI: http://dx.doi.org/10.15585/mmwr.mm7045e1.
76
   Omicron Variant: What You Need to Know, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/variants/omicron-variant.html (updated Feb. 2, 2022). See also Tenforde MW,
Self WH, Gaglani M, et al. Effectiveness of mRNA Vaccination in Preventing COVID-19–Associated Invasive Mechanical
Ventilation and Death — United States, March 2021–January 2022. MMWR Morb Mortal Wkly Rep. ePub: 18 March 2022.
DOI: http://dx.doi.org/10.15585/mmwr.mm7112e1.
77
   The public health emergency determination has been renewed by the Secretary of HHS at 90-day intervals since January
2020, most recently on January 14, 2022. See Renewal of Determination That A Public Health Emergency Exists, Office of
the Assistant Secretary for Preparedness and Response, https://aspr.hhs.gov/legal/PHE/Pages/COVID19-14Jan2022.aspx (last
visited Mar. 9. 2022).
78
   Those restrictions included suspending entry into the United States of immigrants or nonimmigrants who were physically
present within eight southern African countries during the 14-day period preceding their entry or attempted entry into the
United States. See Proclamation 10315 (Nov. 26, 2021), 86 Fed. Reg. 68385 (Dec. 1, 2021).

                                                           11
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 13 of 31 PageID #: 233


restrictions were later lifted by the President, as recommended by CDC. 79 Based on an increasing body
of evidence, CDC recommended that everyone be vaccinated and remain up to date with vaccines,
including boosters for those eligible. 80 As more information about the Omicron variant and vaccine
effectiveness became available, CDC calibrated its mitigation measures in accordance with the
epidemiology of the virus and the different characteristics of the predominant variants. This included
shortening the recommended duration of quarantine and isolation for most members of the general
public in community settings 81 and also shortening the timeframe for its COVID-19 testing requirements
for all air passengers boarding flights to the United States. 82 DHS also required that all inbound non-
citizen, non-lawful permanent residents traveling to the United States via land POE—whether for
essential or non-essential reasons—must provide proof of full COVID-19 vaccination status upon
request. 83 These refinements in policy reflect CDC’s increased understanding of the science and its
desire to tailor mitigation measures so that they are no more burdensome than necessary. The ability of
CDC to be responsive to the public health landscape and adjust such measures up and down is critical to
successfully fighting the pandemic.

        During the fifth wave of the pandemic and as specified in the August Order, CDC reviewed the
public health rationale underlying the need for the Order every 60 days. By the time of the second
reassessment in late November 2021 the public health situation with respect to COVID-19 was
improving. However, the sudden emergence of the Omicron variant led CDC to find that the August
Order continued to be necessary. Because case numbers remained historically high in January, CDC’s
third public health reassessment determined that the need for the August Order remained.

     B.      Current Status of the COVID-19 Pandemic

       As a result of the Omicron variant, the United States recorded its highest seven-day moving
average number of cases on January 15, 2022. 84 Following this unprecedented peak, however, the
number of COVID-19 cases in the United States began to rapidly decrease, falling by over 95% as of




79
   See Proclamation 10329 (Dec. 28, 2021), 87 Fed. Reg. 149 (Jan. 3, 2022) (terminating Proclamation 10315 regarding eight
southern African countries).
80
   A person is considered up to date after receiving all recommended COVID-19 vaccines, including any booster dose(s)
when eligible, Stay Up to Date with Your Vaccines, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/stay-up-to-date.html (issued Jan. 2022, updated Mar. 22, 2022).
81
   CDC Updates and Shortens Recommended Isolation and Quarantine Period for General Population, Centers for Disease
Control and Prevention, https://www.cdc.gov/media/releases/2021/s1227-isolation-quarantine-guidance.html (Dec. 27,
2021). Specifically, the length of isolation period for the general public was shortened to five days, followed by five days of
wearing a well-fitting mask. See also What We Know About Quarantine and Isolation, Centers for Disease Control and
Prevention, https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarantine-isolation-background.html (updated Feb.
25, 2022).
82
   Requirement for Proof of Negative COVID-19 Test or Recovery from COVID-19 for All Air Passengers Arriving in the
United States, updating COVID-19 testing requirements (available at https://www.cdc.gov/quarantine/pdf/Amended-Global-
Testing-Order_12-02-2021-p.pdf). All air passengers two years or older with a flight departing to the United States from a
foreign country starting on December 6, 2021, are required show a negative COVID-19 viral test result taken no more than
one day before travel, or documentation of having recovered from COVID-19 in the past 90 days, before they board their
flight. This requirement remains in place.
83
   See 87 Fed. Reg. 3429 (Jan. 24, 2022) (applying restrictions to the U.S.-Canada border) and 87 Fed. Reg. 3425 (applying
restrictions to the U.S.-Mexico border).
84
   See supra note 24, citing a seven-day moving average of 806,324 cases on January 15, 2022 (last updated Mar. 29, 2022).

                                                              12
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 14 of 31 PageID #: 234


March 30, 2022. 85 After a brief period of continued increases, 86 deaths and hospitalizations also reversed
course and began a swift descent. 87 Even at their peaks, however, the number of deaths and
hospitalizations during Omicron were substantially lower than would have been expected from previous
waves, based on the case counts. These welcomed changes were due, in part, to widespread population
immunity88 and a generally lower overall risk of severe disease due to the nature of the Omicron variant.

        As the overall COVID-19 case count decreases, CDC has observed an increased percentage of
cases due to a newly detected subvariant of Omicron, BA.2. As of March 24, 2022, the BA.2 subvariant
is estimated to represent approximately 54.9% of sequenced cases in the United States. 89 Experts do not
expect this subvariant to lead to a large surge in cases or hospitalizations, due in part to the levels of
immunity provided by other Omicron subvariants (B.1.1.529 and BA.1.1) and by vaccination. Should
COVID-19 cases show signs of potentially straining the U.S. healthcare system in the future, CDC’s
Community COVID-19 Levels framework described below better equips the country to swiftly respond.

        As the waves of the pandemic have surged and ebbed, so too have actions the U.S. government
has taken in response to the pandemic. While earlier phases of the pandemic required extraordinary
actions by the government and society at large, epidemiologic data, scientific knowledge, and the
availability of public health mitigation measures, vaccines, and therapeutics have permitted the country
to safely transition to more normal routines. 90 As part of that transition, CDC is also shifting to more
nuanced and narrowly tailored guidance that provides a less burdensome means of preventing and
controlling the SARS-CoV-2 virus and COVID-19.




85
   Id. (noting a peak of 806,324 seven-day moving average number of cases to 26,190 seven-day moving average number of
cases on March 29, 2022).
86
   COVID Data Tracker Weekly Review: Stay Up to Date – Interpretive Summary for Jan. 28, 2022, Centers for Disease
Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/past-reports/01282022.html (Jan.
28, 2022).
87
   See New Admissions of Patients with Confirmed COVID-19, United States, Centers for Disease Control and Prevention,
https://covid.cdc.gov/covid-data-tracker/#new-hospital-admissions (last updated Mar. 28, 2022); see also supra note 24,
noting a peak of 4,172 seven-day moving average number of deaths declining to 644 seven-day moving average number of
deaths on March 29, 2022.
88
   In addition to vaccine-induced immunity, studies have consistently shown that infection with SARS-CoV-2 lowers an
individual’s risk of subsequent infection and an even lower risk of hospitalization and death. National estimates of both
vaccine- and infection-induced antibody seroprevalence have been measured among blood donors; as of December 2021,
these measures demonstrated 94.7% of persons 16 years and older showed antibody seroprevalence for COVID-19. Science
Brief: Indicators for Monitoring COVID-19 Community Levels and Making Public Health Recommendations, Centers for
Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/indicators-monitoring-
community-levels.html (updated Mar. 4, 2022); Nationwide COVID-19 Infection- and Vaccination-Induced Antibody
Seroprevalence (Blood donations), Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#nationwide-blood-donor-seroprevalence (last updated Feb. 18, 2022).
89
   Variant Proportions, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#variant-
proportions (showing data for the week ending March 26, 2022).
90
   Transcript for CDC Media Telebriefing: Update on COVID-19, Centers for Disease Control and Prevention,
https://www.cdc.gov/media/releases/2022/t0225-covid-19-update.html (Feb. 25, 2022). COVID-19 vaccines are highly
effective against severe illness and death. Widespread uptake of these vaccines, coupled with higher rates of infection-
induced immunity at the population level, as well as the broad availability of mitigation measures and effective therapeutics
have moved the pandemic to a different phase. See also State of the Union Address, https://www.whitehouse.gov/state-of-the-
union-2022/ (Mar. 1, 2022).

                                                             13
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 15 of 31 PageID #: 235


         1. Community COVID-19 Levels

        During the first four waves of the pandemic, CDC relied on a formula to calculate community
transmission levels and update COVID-19 prevention strategies. 91 These indicators reflected the goal of
limiting transmission as vaccine availability increased. 92 The CDC Director examined these indicators in
conducting the public health assessment for the August Order. 93

        The COVID-19 pandemic has shifted to a new phase, however, due to the widespread uptake of
highly effective COVID-19 vaccines, the accrual of high rates of vaccine- and infection-induced
immunity at the population level, and the availability of effective therapeutics, testing, and masks or
respirators. 94 As a result, CDC released a new framework in February 2022, “COVID-19 Community
Levels,” reflecting a shift in focus from eliminating SARS-CoV-2 transmission toward disease control
and healthcare system protection. 95 This new framework examines three currently relevant metrics for
each U.S. county: new COVID-19 hospital admissions per 100,000 population in the past seven days,
the percent of staffed inpatient beds occupied by patients with COVID-19, and total new COVID-19
cases per 100,000 population in the past seven days. 96 CDC determined that data on disease severity and
healthcare system strain complement case rates, and that these data together are more informative for
public health recommendations for individual, organizational, and jurisdictional decisions than data on
community transmission rates alone. 97 This comprehensive approach to assessing COVID-19
Community Levels can inform decisions about layered COVID-19 prevention strategies, including
testing and masking to reduce medically significant disease and limit strain on the healthcare system and
other societal functions. 98

        Using these data, the COVID-19 Community Levels for each county are classified as low,
medium, or high. CDC recommends using county COVID-19 Community Levels to help determine
which mitigation measures should be implemented within a community. 99 As of March 31, 2022, 94.9%
of U.S. counties are classified at the low COVID-19 Community Level, 4.5% of U.S. counties are
classified at the medium COVID-19 Community Level; only 0.5% of U.S. counties are classified at the
91
   In September 2020, CDC released the Indicators of Community Transmission framework, which incorporated two metrics
to define community transmission: total new cases per 100,000 persons in the past seven days, and percentage of Nucleic
Acid Amplification Test results that are positive during the past seven days. CDC also encouraged local decision-makers to
also assess the following factors, in addition to levels of SARS-CoV-2, to inform the need for layered prevention strategies
across a range of settings: health system capacity, vaccination coverage, capacity for early detection of increases in COVID-
19 cases, and populations at risk for severe outcomes from COVID-19. See Christie A, Brooks JT, Hicks LA, et al. Guidance
for Implementing COVID-19 Prevention Strategies in the Context of Varying Community Transmission Levels and
Vaccination Coverage. MMWR Morb Mortal Wkly Rep. ePub: 27 July 2021. DOI:
http://dx.doi.org/10.15585/mmwr.mm7030e2.
92
   Id.
93
   Supra note 1.
94
   Supra note 88.
95
   Indicators for Monitoring COVID-19 Community Levels and Implementing Prevention Strategies, Centers for Disease
Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/downloads/science/Scientific-Rationale-
summary_COVID-19-Community-Levels_2022.02.23.pptx (Feb. 23, 2022).
96
   New COVID-19 admissions and the percent of staffed inpatient beds occupied represent the current potential for strain on
the health system, while data on new cases acts as an early warning indicator of potential increases in health system strain in
the event of a COVID-19 surge. Community vaccination coverage and other local information, like early alerts from
surveillance, such as through wastewater or the number of emergency department visits for COVID-19, when available, can
also inform decision making for health officials and individuals. Supra note 20.
97
   Supra note 88.
98
   Id.
99
   See supra note 20.

                                                              14
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 16 of 31 PageID #: 236


high COVID-19 Community Level. 100 Furthermore, 97.1% of the U.S. population lives in counties
classified as “low,” 2.5% live in counties classified as “medium,” and 0.4% live in counties classified as
“high.” 101

        2. Healthcare Systems and Resources

        With the ebb of the fifth wave, the number of new hospital admissions of patients with
confirmed COVID-19 has similarly receded. Daily new hospitalization admissions peaked with 154,696
daily new admissions on January 15, 2022. The large number of cases in a very short time led to a high
volume of hospitalizations that strained some local healthcare systems and, in some instances, impacted
care for non-COVID-19-related concerns. 102 Despite this high volume of COVID-19 cases and
hospitalizations, COVID-19 cases caused by the Omicron variant were, on average, less severe. 103

       The observed reduction in severity of COVID-19 cases and ongoing effective use of
pharmaceutical interventions make it possible to minimize medically significant disease and prevent
excessive strain on the healthcare sector, even with the occurrence of SARS-CoV-2 transmission. 104
Accordingly, at this stage of the pandemic, data on disease severity and healthcare system strain
complement case rates and result in a more comprehensive approach to assessing COVID-19
Community Levels.

        3. Mitigation Measures

        Effective public health mitigation measures have contributed to the vast majority of the U.S.
population living in a county identified by CDC as having either a “low” or “medium” COVID-19
Community Level. In addition to earlier public health measures, such as masking and physical
distancing, the development and widespread deployment of COVID-19 tests, vaccines, and therapeutics
have greatly reduced the transmission of the virus and severity of the disease throughout the United
States and provided a new understanding of how prevention measures may be used to minimize the
impact of COVID-19 on health and society. 105 These measures and the resulting current status of the
COVID-19 pandemic are a major factor in CDC’s determination that the Orders issued under the
authorities of 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 suspending the right to introduce certain
persons into the United States are no longer necessary to protect the public health.

                 a. Test Availability

       Testing continues to be an essential part of COVID-19 mitigation due to the potential for
asymptomatic and pre-symptomatic transmission. Compared to earlier in the pandemic, COVID-19 tests
are widely available in the United States. During January 2022, Americans had access to over 480
100
    COVID-19 Integrated County View, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#county-view?list_select_state=all_states&list_select_county=all_counties&data-
type=CommunityLevels&null=CommunityLevels (last updated Mar. 31, 2022); see also infra note 152.
101
    Per internal CDC calculations.
102
    Supra note 73.
103
    Id.
104
    Supra note 88.
105
    See COVID Data Tracker Weekly Review: Interpretive Summary for March 4, 2022, Centers for Disease Control and
Prevention, https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/past-reports/03042022.html (Mar. 4, 2022),
indicating that the whole community can be safe only when [everyone] take[s] steps to protect each other, even when the
COVID-19 Community Level is low or medium.

                                                           15
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 17 of 31 PageID #: 237


million at-home tests in addition to rapid point of care and laboratory tests. 106 With the additional testing
capacity available through antigen tests, rapid testing can be implemented to identify infected persons
for isolation and identification of close contacts for quarantine and testing if indicated. 107

        Testing is also particularly helpful in congregate settings, where testing facility residents and
personnel can help facilitate early identification of increased infection rates and prompt mitigation
actions to help avoid strain on facility operations. 108 CDC recommends broad use of COVID-19 tests
among facility workforces and within the larger community; such workforce testing may decrease the
necessity for testing residents in congregate settings.

                 b. Vaccines and Boosters

        Since August 2021, the scientific community has made significant strides in the development and
distribution of COVID-19 vaccines, including booster shots. When the August Order was issued, three
COVID-19 vaccines were authorized by the U.S. Food and Drug Administration (FDA) for emergency
use and recommended for all people 12 years of age and up. While the daily count of total COVID-19
vaccine doses administered across the United States has plateaued, the cumulative number of people
protected by COVID-19 vaccination has grown since the August Order. 109 As of March 30, 2022, over
209 million people in the United States 12 years of age or older (73.9% of the population 12 years or
older) have been fully vaccinated and over 245 million people in the United States 12 years or older
(86.6%) have received at least one dose. 110 To address concerns with potential waning immunity, 111
booster shots are now recommended for all adults ages 18 years and older. 112 As of March 30, 2022,
48.3% of fully vaccinated individuals 18 years and older in the United States have also received a
booster dose. 113

        Since the August Order, eligibility for COVID-19 vaccines has expanded to include children
ages five to 11. 114 Children ages six months through four years may soon become eligible for a COVID-

106
    Testing is available for free at 21,500 locations around the country. See supra note 21.
107
    See COVID-19 Testing and Diagnostics Working Group (TDWG). U.S. Department of Health and Human Services,
https://www.hhs.gov/coronavirus/testing/testing-diagnostics-working-group/index.html (last visited Mar. 31, 2022) (defining
the role of the COVID-19 TDWG, which develops testing-related guidance and provides targeted investments to expand the
available testing supply and maximize testing capacity).
108
    Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities,
Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
detention/guidance-correctional-detention.html#Strategies (updated Feb. 15, 2022).
109
    Supra note 65.
110
    In comparison, as of July 28, 2021, over 163 million people in the United States (57.6% of the population 12 years or
older) had been fully vaccinated and over 189 million people in the United States (66.8% of the population 12 years or older)
had received at least one dose. Id.; see also COVID-19 Vaccinations in the United States, Centers for Disease Control and
Prevention, https://covid.cdc.gov/covid-data-tracker/#vaccinations (last updated Mar. 30, 2022).
111
    Thompson MG, Natarajan K, Irving SA, et al. Effectiveness of a Third Dose of mRNA Vaccines Against COVID-19–
Associated Emergency Department and Urgent Care Encounters and Hospitalizations Among Adults During Periods of
Delta and Omicron Variant Predominance — VISION Network, 10 States, August 2021–January 2022. MMWR Morb Mortal
Wkly Rep 2022;71:139–145. DOI: http://dx.doi.org/10.15585/mmwr.mm7104e3.
112
    CDC Expands Eligibility for COVID-19 Booster Shots to All Adults, Centers for Disease Control and Prevention,
https://www.cdc.gov/media/releases/2021/s1119-booster-shots.html (released Nov. 19, 2021). See also COVID-19 Vaccine
Booster Shots, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/vaccines/booster-
shot.html (updated Feb. 2, 2022).
113
    See supra note 112 (citing data as of Mar. 30, 2022). Additionally, 46.5% of fully vaccinated individuals 12 years of age
and older in the United States have received a booster dose.
114
    See supra note 75.

                                                             16
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 18 of 31 PageID #: 238


19 vaccine; CDC is working with state and local jurisdictions for the eventual rollout of this critical
product. 115 Improving COVID-19 vaccination coverage among children and adolescents is crucial to
maintaining low rates of COVID-19-associated morbidity and mortality among these groups and
ensuring a safe and expedited return to normal routines for everyone. 116

        Vaccines, including boosters, continue to be the single most important public health tool for
fighting COVID-19 and CDC recommends that all people get vaccinated as soon as they are eligible and
stay up to date on vaccinations. 117 Evidence shows that people who have completed the primary
COVID-19 vaccination series, and received a booster when eligible, are at substantially reduced risk of
severe illness and death from COVID-19; in contrast, the cumulative rate of COVID-19-associated
hospitalizations is substantially higher in unvaccinated adults than in those who are up to date on
COVID-19 vaccines. 118 Therefore, vaccines, including booster doses when appropriate, provide a
substantial measure of protection against COVID-19-associated hospitalization and severe disease,
including from the Omicron variant. 119 The increased percentage of individuals who are not only
vaccinated but have also received a booster—which was not available at the time of the August Order—
strengthens community protection levels and is a critical step toward resuming normal routines safely.

        The availability of COVID-19 vaccines globally has also increased dramatically since the August
       120
Order. On August 2, 2021, only 29% of the world had received at least one dose of a COVID-19
vaccine, with 12% being fully vaccinated. 121 As of March 30, 2022, 64.9% of the world population has
received at least one dose of a COVID-19 vaccine and 57% of the global population is fully vaccinated
with a primary vaccine series. 122 Fighting COVID-19 abroad is key to the nation’s effort to protect
people at home and stay ahead of new variants; therefore, the United States remains committed to
accelerating global vaccination efforts. 123


115
    COVID-19 Vaccination for Children, Centers for Disease Control and Prevention, https://www.cdc.gov/vaccines/covid-
19/planning/children.html (last reviewed Dec. 9, 2021).
116
    See generally Murthy BP, Zell E, Saelee R, et al. COVID-19 Vaccination Coverage Among Adolescents Aged 12–17 Years
— United States, December 14, 2020–July 31, 2021. MMWR Morb Mortal Wkly Rep 2021;70:1206–1213. DOI:
http://dx.doi.org/10.15585/mmwr.mm7035e1.
117
    COVID-19 Vaccines Work, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/effectiveness/work.html (updated Dec. 23, 2021). See also supra note 111, attributing decline of vaccine
effectiveness to waning vaccine induced immunity over time, possible increased immune evasion by SARS-CoV-2 variants,
or a combination of these and other factors and finding that receiving a booster shot was highly effective at preventing
COVID-19-associated emergency department and urgent care encounters and preventing COVID-19-associated
hospitalizations). See also Stay Up to Date with Your Vaccines, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/stay-up-to-date.html (updated Mar. 30, 2022), a person is considered
up to date after receiving all recommended COVID-19 vaccines, including any booster dose(s) when eligible. See also infra
I.B.5.
118
    This pattern applies to all age groups but is most pronounced among adults aged 65 years and older, who are at increased
risk for hospitalization and death.
119
    A recent CDC study found that among people hospitalized with COVID-19, severe outcomes during the Omicron wave
appear lower than during previous high transmission waves. COVID Data Tracker Weekly Review: Boosters Work –
Interpretive Summary for Feb. 11, 2022, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/covid-data/covidview/past-reports/02112022.html.
120
    Coronavirus disease (COVID-19): Vaccine access and allocation, World Health Organization, https://www.who.int/news-
room/questions-and-answers/item/coronavirus-disease-(covid-19)-vaccine-access-and-allocation (Aug. 6, 2021).
121
    Coronavirus (COVID-19) Vaccinations, Our World in Data, https://ourworldindata.org/covid-vaccinations#what-share-of-
the-population-has-received-at-least-one-dose-of-the-covid-19-vaccine (updated Mar. 30, 2022).
122
    Id.
123
    See supra note 21.

                                                            17
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 19 of 31 PageID #: 239


                  c. Treatments

         Compared to August 2021, treatments for COVID-19 are more widely available. Although
monoclonal antibodies were available in August 2021 and some continue to be effective and were
widely used during the Omicron wave, such treatments must be administered by infusion and are
cumbersome to administer. The FDA has issued emergency use authorizations (EUA) for a number of
treatments for COVID-19 for people at high risk of COVID-19 disease progression, some of which were
developed after August 2021. 124 In February 2022, FDA issued an EUA for a new monoclonal antibody
that is specifically effective in combatting the Omicron variant. 125 FDA has also authorized oral antiviral
medications that target the SARS-CoV-2 virus. 126 The U.S. government has expedited the development,
manufacturing, and procurement of these treatments, securing 20 million courses of antiviral pills, which
have been shown to reduce the risk of hospitalization or death by 89%. 127 The availability of efficacious
and accessible treatments add a powerful layer of protection against severe COVID-19 that was not
available in the summer of 2021. 128 The U.S. government’s commitment to making such medications
available and the ability to produce variant-specific treatments are critical components of the next phase
of the fight against COVID-19.

         4. Congregate Settings

        As highlighted in the August Order, the very nature of congregate settings increases the risk for
COVID-19 outbreaks. 129 Now, however, numerous non-pharmaceutical and pharmaceutical
interventions are available to decrease the spread and severity of COVID-19 in these settings. 130
Throughout the pandemic, congregate settings have adapted processes to mitigate COVID-19 risk,
including incorporating mask use, improving ventilation, enhancing cleaning and disinfection
procedures, and connecting people to medical care. Current CDC guidance for correctional and
detention facilities recommends that certain key mitigation measures, including provision of
vaccinations and use of standard infection controls remain in place at all times. 131 In addition, facilities



124
    Treatments Your Healthcare Provider Might Recommend if You Are Sick, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/your-health/treatments-for-severe-illness.html (updated Jan. 13, 2022), noting
monoclonal antibody treatments may help the immune system recognize and respond more effectively to the virus.
125
    FDA News Release: Coronavirus (COVID-19) Update: FDA Authorizes New Monoclonal Antibody for Treatment of
COVID-19 that Retains Activity Against Omicron Variant, U.S. Food and Drug Administration, https://www.fda.gov/news-
events/press-announcements/coronavirus-covid-19-update-fda-authorizes-new-monoclonal-antibody-treatment-covid-19-
retains (Feb. 11, 2022).
126
    See supra note 124.
127
    See supra note 21. The availability of new oral antiviral medications makes treatment more accessible to patients who are
at risk for progression to severe COVID-19, see FDA News Release: Coronavirus (COVID-19) Update: FDA Authorizes
First Oral Antiviral for Treatment of COVID-19, U.S. Food and Drug Administration, https://www.fda.gov/news-
events/press-announcements/coronavirus-covid-19-update-fda-authorizes-first-oral-antiviral-treatment-covid-19 (Dec. 22,
2022).
128
    Id. Antiviral pills will also be added to the stockpile for the first time.
129
    See supra note 44, explaining preventing coronavirus disease 2019 (COVID-19) in correctional and detention facilities
can be challenging because of population-dense housing, varied access to hygiene facilities and supplies, and limited space
for isolation and quarantine.
130
    See supra note 108.
131
    Id. CDC recommends facilities should maintain, at all times, the following aspects of standard infection control,
monitoring, and capacity to respond to cases of COVID-19: (1) provide COVID-19 vaccination, including boosters; (2)
maintain standard infection control; (3) maintain SARS-CoV-2 testing strategies; (4) prevent COVID-19 introduction from
the community; and (5) prepare for outbreaks.

                                                             18
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 20 of 31 PageID #: 240


are encouraged to identify their own risk levels and apply additional mitigation measures as necessitated
by local conditions. 132

         Rather than requiring physical distancing to be kept in place at all times, CDC’s congregate
settings guidance allows such measures to be scaled up or down based on local data trends and facility
characteristics. 133 Because case counts and hospitalizations are decreasing in most areas of the country,
many correctional and detention facilities are resuming certain activities that had previously been paused
to facilitate physical distancing, signaling the resumption of more normal operations for many
congregate settings. 134

         5. DHS Mitigation Measures

        It is CDC’s understanding that DHS facilities incorporate some of the recommended COVID-19
mitigation measures for congregate settings into their protocols. In particular, CBP continues to
implement a variety of mitigation measures based on the infection prevention strategy referred to as the
hierarchy of controls, which includes engineering upgrades, masking for migrants, and PPE for its
workforce. 135 Moreover, vaccine uptake among the CBP workforce has reached approximately 86%
among personnel on the U.S.-Mexico border.

        Of particular note, DHS has recently begun implementing a vaccination program for migrants
processed under Title 8 immigration authorities and held in CBP facilities. The DHS vaccination
program will apply to all age-appropriate migrants who lack legal status and are processed pursuant to
Title 8 authorities; have entered the United States after crossing the Southwest Border; and are taken
into DHS custody. DHS has conveyed to CDC that all such migrants who are unable to provide proof of
vaccination with an FDA EUA- or WHO EUL-approved vaccine will be provided an initial dose of a
COVID-19 mRNA vaccine. DHS began implementing their vaccination program at 11 sites on March
28, 2022. DHS is working to expand this program over the next two months and states that their goal is
to provide vaccinations to up to 6,000 migrants a day across 27 sites across the Southwest Border by
May 23, 2022.

       In addition, since the August Order, the DHS Office of the Chief Medical Officer has worked
with partners in local communities to move individuals safely out of CBP custody and through the
appropriate Title 8 immigration procedures, as applicable to the individual noncitizens. Through these
partnerships, DHS has supported state, local, tribal, and territorial partners and NGOs in developing
robust COVID-19 testing and quarantine programs along the Southwest Border.

132
    Some congregate settings and detention facilities are resuming activities such as inter-facility transfers and detention of
individuals for non-violent offenses, which has previously been paused due to the pandemic.
133
    Id. (Recommending that facilities develop and use metrics to guide modification of COVID-19 prevention measures using
data on local trends and facility characteristics).
134
    Per information provided by DHS.
135
    These mitigation efforts include installing plexiglass dividers in facilities, enhancing ventilation systems, adhering to CDC
guidance of cleaning and disinfection, and providing masks to migrants, as well as PPE to CBP personnel. These measures
generally follow the infection prevention control referred to as the hierarchy of controls. See Hierarchy of Controls, Centers
for Disease Control and Prevention, available at https://www.cdc.gov/niosh/topics/hierarchy/default.html (last visited Mar.
30, 2022). The hierarchy of controls is used as a means of determining how to implement feasible and effective control
solutions. The hierarchy is outlined as: (1) Elimination (physically remove the hazard); (2) Substitution (replace the hazard);
(3) Engineering Controls (isolate people from the hazard); (4) Administrative Controls (change the way people work); and
(5) PPE (protect people with Personal Protective Equipment). CBP also continues to update the CBP Job Hazard Analysis
and the CBP COVID toolkit based on the latest relevant public health guidance.

                                                               19
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 21 of 31 PageID #: 241


II.     Public Health Determination

        As the COVID-19 pandemic and public health landscape evolve, CDC reassesses the need for
continued measures under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40, the authorities that support the
CDC Orders. 136 This Public Health Determination and Termination is based upon the most recent
science and data available to CDC. Based upon the data, CDC has determined that, although the
implementation of the CDC Orders to reduce the numbers of noncitizens held in congregate settings in
POEs and Border Patrol stations has been part of the layered COVID-19 mitigation strategy used over
the past two years, less burdensome measures are now available to mitigate the introduction,
transmission, and spread of COVID-19 resulting from the entry of covered noncitizens.

         This Public Health Determination and Termination is the most recent step in CDC’s continued
efforts toward aligning the public health measures response to the COVID-19 pandemic with the best
available science. Throughout the COVID-19 pandemic, CDC has taken a range of actions to help
protect the public’s health. These actions have been informed by the status of the pandemic based on the
scientific and epidemiological information available at the time. The actions fall along a spectrum of
restrictions on movement and activities in public. Some, like the masking order for conveyances, impact
individuals but do not restrict movement; others, like the No Sail Order, apply to entire industries.

        The CDC Orders issued under the authorities of 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40
suspending the right to introduce certain persons into the United States are among the most restrictive
measures CDC has undertaken in the fight against COVID-19. The U.S. government has only used the
extraordinary authority available under 42 U.S.C. § 265 to restrict the introduction of persons in one
instance prior to the COVID-19 pandemic—in 1929, in response to a meningitis outbreak. 137 During the
earlier periods of the COVID-19 pandemic, while scientists were still learning about its epidemiology
and developing therapeutics and vaccines, the CDC Orders were deemed necessary due to the rapid
spread of the virus. As the understanding of the virus has grown and vaccines and therapeutics for the
disease have become more widely available, lower COVID-19 Community Levels have been observed.

        The August Order recognized the full panoply of mitigation measures available as key to slowing
the spread of the virus and protecting U.S. healthcare systems while widespread vaccination efforts
continued. Like other COVID-19 mitigation measures issued by CDC, the August Order was always
intended as a temporary measure as understanding of the virus evolved. The scientific knowledge,
availability of vaccines and therapeutics, and high percentage of the U.S. population living in a county
identified as having “low” or “medium” COVID-19 Community Levels have permitted CDC to
carefully step-down the various public health mitigation measures used. This step-down involves
purposeful narrowing of some restrictions while terminating others when the public health need for and
efficacy of the measures no longer outweigh the severity of the restriction. For example, CDC took the
unprecedented step of halting cruise ship travel during the earliest phases of the pandemic, but permitted
gradual resumption of cruises as the public health situation evolved. 138 Likewise, the United States has

136
    As noted above, CDC reviews the public health rationale underlying the need for the Order every 60 days.
137
    See 85 Fed. Reg. 56424, 56440-42 (noting that, despite passing the precursor to 42 U.S.C. § 265 during a cholera
epidemic in 1893, the U.S. government did not exercise this authority until 1929).
138
    CDC issued the original No Sail Order on March 14, 2020, and a version of the order remained in place until October 29,
2020, when it was replaced with a Framework for Conditional Sailing which permitted a phased resumption of cruise ship
operations as long as certain public health mitigation measures were met. This Framework for Conditional Sailing became
non-binding for cruise ships in Florida by court order in July 2021 and was allowed to expire on January 15, 2022. The


                                                            20
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 22 of 31 PageID #: 242


transitioned from suspending the entry of persons traveling from specified countries 139 to a framework
of CDC travel health notices and testing and proof of vaccination requirements 140 that allow for
reopening global travel and migration while still implementing necessary mitigation measures. CDC
believes that the restrictions remaining in place as part of the travel framework (e.g., proof of
vaccination requirements for noncitizens entering the United States by air or land POE, and proof of a
negative COVID-19 test result) 141 continue to be necessary and are appropriately balanced to minimize
restrictions on individuals. CDC continually evaluates the need for these measures and is committed to
tailoring them to meet the current public health needs. These careful step-downs have been driven by the
evolution of the COVID-19 pandemic and scientific developments and are part of CDC’s commitment
to exercise its authorities in a manner that provides the greatest benefit for public health while imposing
the minimum necessary burden on individuals and communities.

        In the context of the CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40, this
public health-driven step-down first narrowed implementation to except UC and then fully terminated
the Orders with respect to UC once there was no longer public health justification for such a suspension.
While the CDC Orders under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 provided an important
measure to protect against the introduction, transmission, and spread of COVID-19 during earlier phases
of the pandemic by reducing the number of noncitizens held in congregate settings, other public health
measures are now available to provide necessary public health protection for noncitizens, Americans,
and the DHS workforce. 142 CDC acknowledges that public health concerns may arise in congregate
settings, including COVID-19 transmission. CDC has determined that, although there is still a risk of
COVID-19 transmission in crowded congregate settings, including DHS facilities, that risk does not
present a sufficiently serious danger to public health to necessitate maintaining the August Order.
Furthermore, the mitigation measures available will help reduce severe outcomes and reduce the serious
danger of introduction, transmission, and spread of COVID-19 into the United States by covered
noncitizens.

        Both at home and abroad, vaccination rates are increasing. Vaccination among the American
public and the DHS workforce in particular has been largely successful and, as stated in the August
Order, widespread vaccination of federal employees and personnel in congregate settings at POE and
Border Patrol stations demonstrates important progress toward the normalization of border operations. 143
Since August 2021, vaccination rates in the countries of origin for the current majority of incoming



Framework was replaced by a voluntary program, CDC’s COVID-19 Program for Cruise Ships, wherein cruise lines
choosing to opt into the program are required to follow all recommendations and guidance as a condition of their
participation in the program. See Technical Instructions for CDC’s COVID-19 Program for Cruise Ships Operating in U.S.
Waters, Centers for Disease Control and Prevention, https://www.cdc.gov/quarantine/cruise/management/technical-
instructions-for-cruise-ships.html#program-for-cruise-ships (last updated Mar. 18, 2022); see also supra notes 38, 49, and 60.
139
    See supra notes 35, 59, 66, 78, and 79.
140
    See supra note 67.
141
    CDC Orders, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cdcresponse/laws-
regulations.html (updated Mar. 12, 2022).
142
    Since the August Order, the collection, production, and analysis of key COVID-19 response metrics has continued to
expand. Advances in public health surveillance may enable officials and facilities (including congregate setting facilities) to
rapidly institute necessary mitigation measures in the event of an outbreak. For example, CDC launched and is continually
enhancing the National Wastewater Surveillance System to track the presence of SARS-CoV-2 in wastewater samples
collected across the country. See supra note 21.
143
    CBP most recently reported vaccination rates between 75% and 91% among its U.S. Border Patrol and Office of Field
Operations personnel.

                                                              21
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 23 of 31 PageID #: 243


noncitizens have also increased dramatically. 144 Such global increases in vaccination rates and infection-
induced immunity provide additional layers of protection. As noted above, DHS is currently scaling up a
program that provides vaccines to encountered noncitizens taken into CBP custody along the Southwest
Border. 145 CDC is supportive of these efforts as a public health measure as they align with CDC’s and
the U.S. government’s emphasis on global vaccination to fight COVID-19. Even if full COVID-19
vaccination cannot be assured, partial vaccination provides some level of protection against severe
illness and hospitalization and helps maintain U.S. healthcare resources. 146

        The August Order also highlighted the threat posed by emerging variants and the potential for a
future, vaccine-resistant variant, either of which could negatively impact U.S. communities and local
healthcare resources. 147 Based in part on these threats, CDC concluded at that time that SA and FMU
should continue to be subject to the August Order, pending further improvements in the public health
situation, and subject to continual reassessment. 148 Since the August Order was implemented, public
health officials have learned a great deal about variants and how best to respond to them. In response to
Omicron, the U.S. government updated the National COVID-19 Preparedness Plan for monitoring
COVID-19 to swiftly adapt tools to combat a new variant and deploy emergency resources to help
communities. 149 The Plan includes steps to ensure that variant surveillance, vaccines, tests, and
treatments can be updated and deployed quickly. 150

        At this point in the pandemic, the United States has high rates of vaccine and infection-induced
immunity in the population, as well as availability of effective therapeutics, testing, and well-fitting
masks. These tools, which have been developed and distributed over the past two years, help minimize
medically significant disease and prevent excessive strain on the healthcare sector even while SARS-
CoV-2 virus continues to circulate. As noted above, 97.1% of the U.S. population is currently living in
an area classified as having a “low” COVID-19 Community Levels, meaning most of the population can
operate under more relaxed COVID-19 mitigation strategies. 151 Noteworthy for purposes of this
Determination, as of March 31, 2022, all 24 U.S. counties along the U.S.-Mexico border are classified as
having a “low” COVID-19 Community Level. 152 Like prior CDC Orders, the August Order, issued

144
    Thus far in 2022, Mexico, Cuba, Guatemala, Honduras, and Nicaragua constitute the top five countries of origin for
covered noncitizens. Rates of vaccination for each country are as follows: Cuba: 88% fully vaccinated, 94% only partly
vaccinated; Guatemala: 33% fully vaccinated, 9.8% only partly vaccinated; Honduras: 47% fully vaccinated, 6% only partly
vaccinated; Mexico: 61% fully vaccinated, 4.5% only partly vaccinated; Nicaragua: 61% fully vaccinated, 82% only partly
vaccinated. Coronavirus (COVID-19) Vaccinations, Our World in Data, https://ourworldindata.org/covid-vaccinations (last
visited Mar. 31, 2022).
145
    See supra I.B.5. CDC strongly supports broad vaccination at the Southwest Border in furtherance of public health, and
will implement termination of the Order on May 23, 2022, in part to give DHS time to scale up its vaccination program. That
said, given the current status of the pandemic and the range of mitigation measures currently in place and in the process of
being implemented, CDC believes the serious risk to public health that the CDC Orders were intended to address has been
sufficiently alleviated, even in the absence of complete implementation of the DHS vaccination program.
146
    As demonstrated by the U.S. government’s experience with Operation Artemis and Operation Allies Welcome, a COVID-
19 vaccination program helps protect noncitizens, as well as personnel serving these populations and American communities.
Vaccination of all encountered noncitizens aligns with larger U.S. government pandemic efforts and safe travel policies.
147
    86 Fed. Reg. 42828, 42837.
148
    Id.
149
    See supra note 21.
150
    Id.
151
    Per internal CDC calculations.
152
    COVID-19 Integrated County View, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#county-view?list_select_state=all_states&list_select_county=all_counties&data-type=CommunityLevels (last


                                                            22
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 24 of 31 PageID #: 244


during the fourth wave of the pandemic, noted the goal of slowing the introduction, transmission, and
spread of SARS-CoV-2 into the United States by covered noncitizens. 153 With the ebb of the Omicron
surge across the United States, however, the public health findings underlying the August Order have
changed. Although COVID-19 remains a concern, the readily available and less burdensome public
health mitigation tools to combat the disease render an order under 42 U.S.C. § 265 to prevent a serious
danger to the public health unnecessary. At this point in the pandemic, the previously identified public
health risk is no longer commensurate with the extraordinary measures instituted by the CDC Orders. As
the pandemic evolves, CDC will continue to monitor the situation with respect to COVID-19 at U.S.
borders and will continue to consult with DHS on combatting COVID-19 in DHS facilities following the
Termination of the August Order.


III.        Legal Considerations

       A.      Temporary Nature of Orders under 42 U.S.C. § 265 and Absence of Reliance Interests

        In issuing this Public Health Determination and Termination, CDC has considered whether state
or local governments, or their subdivisions, have any “legitimate reliance” 154 interests in the continued
expulsion of covered noncitizens pursuant to 42 U.S.C. § 265 (Section 265). CDC has determined that
no state or local government could be said to have legitimately relied on the CDC Orders issued under
42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 to implement long-term or permanent changes to its
operations because those orders are, by their very nature, short-term orders, authorized only when
specified statutory criteria are met, and subject to change at any time in response to an evolving public
health crisis. Section 265 may be invoked only if CDC determines that there is a “serious danger of the
introduction of [a communicable] disease into the United States, and that this danger is so increased by
the introduction of persons or property from such country [where the communicable disease exists] that
a suspension of the right to introduce such persons and property is required in the interest of the public
health.” 155 Moreover, the statute may be invoked only “for such period of time as [CDC] may deem
necessary” to avert such a danger. 156 As HHS’s implementing regulation further recognizes, in
prohibiting the introduction of covered persons “in whole or in part,” 157 a CDC Order is effective “only
for such period of time that the Director deems necessary to avert the serious danger of the introduction
of a quarantinable communicable disease.” 158

        For these reasons, the CDC Orders have consistently been subject to periodic reviews to ensure
their continued necessity. CDC’s initial order issued in March 2020 made clear that the Order
represented a “temporary suspension of the introduction of [covered] persons into the United States” 159
and that the order would remain effective only for “30 days, or until [CDC] determine[s] that the danger

updated Mar. 31, 2022), noting 100% (n=24) of counties along the U.S.-Mexico border are considered “Low”: California
(San Diego County, Imperial County); Arizona (Pima County, Santa Cruz County, Cochise County, Yuma County); New
Mexico (Luna County, Dona Ana County, Otero County, Eddy County, Lea County); and Texas (Presidio County, Brewster
County, Terrell County, Webb County, Zapata County, Cameron County, El Paso County, Hudspeth County, Val Verde
County, Kinney County, Maverick County, Starr County, Hidalgo County).
153
    See 86 Fed. Reg. 42828, 42834 and 42838.
154
    See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020).
155
    42 U.S.C. § 265.
156
    Id.
157
    Id.
158
    42 C.F.R. § 71.40(a).
159
    85 Fed. Reg. at 17061 (emphasis added).

                                                         23
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 25 of 31 PageID #: 245


of further introduction of COVID-19 into the United States has ceased to be a serious danger to the
public health, whichever is shorter.” 160 The March 2020 Order was subsequently extended on April 20,
2020, and then amended on May 19, 2020. The fact that the policy was frequently reviewed should have
underscored that CDC’s use of its authority under 42 U.S.C. § 265 was a temporary measure subject to
change at any time. The October 2020 Order again confirmed this understanding of CDC’s authority,
noting the “temporary” nature of the suspension of the introduction of covered persons, as well as the
facts that the Order would be reviewed every 30 days based on “the latest information regarding the
status of the COVID-19 pandemic and associated public health risks,” and that CDC “retain[ed] the
authority to extend, modify, or terminate the Order, or implementation of [the] Order, at any time as
needed to protect public health.” 161

         In addition, CDC’s ability to exercise its authority under Section 265 as to certain groups has
fluctuated due to litigation, further rendering it unreasonable for any state or local government to have
acted in reliance on the continued exercise of the authority. CDC’s exercise of the Section 265 authority
was first challenged shortly after CDC issued its initial order in March 2020, and subsequent court
orders enjoining CDC from exercising its authority under 42 U.S.C. § 265 as to certain groups of
covered noncitizens should have further discouraged reliance on temporary CDC orders. For example, in
November 2020, the United States District Court for the District of Columbia enjoined the expulsion of
UC on the basis that Section 265 likely did not authorize such expulsions. 162 Although the government
obtained a stay of the injunction in January 2021, 163 the extent of the government’s authority under
Section 265 remained contested. In addition, in September 2021, the United States District Court for the
District of Columbia similarly enjoined the expulsion of FMU, again on the basis that Section 265 likely
did not authorize such expulsions. 164 The U.S. Court of Appeals for the D.C. Circuit recently upheld the
government’s authority under 42 U.S.C. § 265 to expel FMU, but the court held that such expulsions
cannot be to places where the noncitizen are likely to be persecuted or tortured. 165 Although the decision
will not take effect until the mandate issues in late April 2022, the decision should have put any state or
local government on notice that there might be significant practical constraints on the government’s
ability to expel covered FMU quickly.

       Moreover, by August 2021, state and local governments were on notice that the federal
government would be taking steps towards the resumption of normal border operations. In the August
2021 Order, CDC stated that it “view[ed] this public health reassessment as setting forth a roadmap
toward the safe resumption of normal processing of arriving noncitizens, taking into account COVID-19
concerns and immigration facilities’ ability to implement mitigation measures.” 166 Accordingly, state

160
    85 Fed. Reg. at 17068.
161
    85 Fed. Reg. at 65807, 65812.
162
    See P.J.E.S. v. Wolf, 502 F. Supp. 3d 492 (D.D.C. 2020).
163
    Order, P.J.E.S. v. Mayorkas, et al., No. 20-5357 (D.C. Cir. Jan. 29, 2021), Doc. No. 1882899.
164
    See Huisha-Huisha v. Mayorkas, No. CV 21-100 (EGS), 2021 WL 4206688, at *12 (D.D.C. Sept. 16, 2021).
165
    Id. at *1. The D.C. Circuit also noted the “considerable difference” in public health situations between March 2020 and
March 2022. Id. at *13.
166
    86 Fed. Reg. 42828, 42831; see also id. at 42837 (discussing a necessary mitigation measure “as DHS moves towards the
resumption of normal border operations”); id. at 42838 (“CDC believes that the gradual resumption of normal border
operations under Title 8 is feasible. With careful planning, this may be initiated in a stepwise manner that complies with
COVID-19 mitigation protocols.”); id. at 42840 (noting that “although this Order will continue with respect to SA and FMU,
DHS will use case-by-case exceptions based on the totality of the circumstances where appropriate to except individual SA
and FMU in a manner that gradually recommences normal migration operations as COVID-19 health and safety protocols
and capacity allows”); id. (CDC considered “the use of case-by-case exceptions as a step towards the resumption of normal
border operations under Title 8”).

                                                            24
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 26 of 31 PageID #: 246


and local governments could not have reasonably relied on CDC’s indefinite use of its expulsion
authority under Section 265. As a factual matter, CDC is not aware of any reasonable or legitimate
reliance on the continued expulsion of covered noncitizens under 42 U.S.C. § 265 beyond potentially
local healthcare systems’ allocation of resources, which CDC has considered in this Order. 167

         Even if a state or local government had relied on the continued existence of a CDC order under
this authority, 42 U.S.C. § 265 only authorizes CDC to prevent the introduction of noncitizens when it is
required in the interest of public health. No state or local government could reasonably rely on CDC’s
continued application of Section 265 once CDC determined that there is no longer sufficient public
health risk present with respect to the introduction of covered noncitizens. Therefore, CDC’s considered
judgment is that any reliance interest that might be said to exist in connection with the continued
suspension of the right to introduce covered noncitizens under 42 U.S.C. § 265 is not weighty enough to
displace CDC’s determination that there is no public health justification for such a suspension at this
time. 168 To the extent that any state or local government did rely on the expulsion of noncitizens for
purposes of resource allocation despite the reasons cautioning against such reliance, CDC concludes that
resource allocation concerns do not outweigh CDC’s determination that the suspension of the right to
introduce covered noncitizens is not required to avert a serious danger to public health.

        CDC has also considered whether there may be any short-term reliance on the continued
expulsion of noncitizens under the August 2021 Order. CDC concludes that any short-term reliance
interests should be limited for all the reasons explained above, and particularly in light of the expressly
temporary nature of the Order. For the same reasons, CDC concludes that any such reliance does not
outweigh CDC’s determination that the expulsion of covered noncitizens is not required to avert a
serious danger to public health. Moreover, to the extent that any state or local government has made any
short-term plans based on the existence of the August Order, the effective date of this Termination has
been set for 52 days from the date of issuance, thus providing state and local governments time to adjust
to the resumption of regular Title 8 immigration processing.

        Finally, the CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 are not, and
do not purport to be, policy decisions about controlling immigration; rather, as explained, CDC’s
exercise of its authority under Section 265 depends on the existence of a public health need. Thus, to the
extent that state and local governments along the border or elsewhere were relying on an order under 42
U.S.C. § 265 as a means of controlling immigration, such reliance would not be reasonable or
legitimate. And even if such reliance were reasonable or legitimate, that reliance would not outweigh
CDC’s conclusion that expulsions are not necessary under the terms of 42 U.S.C. § 265 or warrant
disruption of ordinary processing of covered noncitizens.

      B.     Basis for Termination under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40

        CDC is hereby terminating the August Order 169 and all prior orders issued pursuant to sections
362 and 365 of the PHS Act (42 U.S.C. §§ 265, 268) and the implementing regulation at 42 C.F.R. §
71.40. 170 This Termination will be implemented on May 23, 2022, for the operational reasons outlined

167
    See supra I.B.2.
168
    See Regents, 140 S. Ct. at 1913 (explaining that features evidencing the temporary and non-rights-conferring nature of a
government program “surely are pertinent in considering the strength of any reliance interests,” and can be considered by the
agency).
169
    See supra notes 1 and 4.
170
    See supra note 7.

                                                             25
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 27 of 31 PageID #: 247


herein, including to give DHS time to implement additional COVID-19 mitigation measures. The
statutory and regulatory authorities permit the CDC Director to issue Orders prohibiting, in whole or in
part, the introduction into the United States of persons from designated foreign countries (or one or more
political subdivisions or regions thereof) or places, only for such period of time that the Director deems
necessary to avert the serious danger of the introduction of a quarantinable communicable disease, based
on a determination by the Director that:
        (1) By reason of the existence of any quarantinable communicable disease in a foreign country
            (or one or more political subdivisions or regions thereof) or place there is serious danger of
            the introduction of such quarantinable communicable disease into the United States; and
        (2) This danger is so increased by the introduction of persons from such country (or one or more
            political subdivisions or regions thereof) or place that a suspension of the right to introduce
            such persons into the United States is required in the interest of public health. 171

        Pursuant to 42 U.S.C. § 265 and the implementing regulation, the CDC Director has the
authority to issue orders to mitigate the introduction and further spread of COVID-19 disease. 172 In
recognition of the extraordinary nature of these emergency public health powers, section 265 and its
implementing regulation contemplate that the exercise of these authorities will be temporally and
geographically limited in scope as described below. Critically, these authorities also require that any
orders issued will be terminated when they are no longer necessary to protect the public health. The
authority to make this determination has been delegated to the CDC Director.

        CDC explained in the preamble to the Final Rule for 42 C.F.R. § 71.40 that, in issuing an Order
under these authorities, it may “consider a wide array of facts and circumstances when determining what
is required in the interest of public health in a particular situation . . . includ[ing]: the overall number of
cases of disease; any large increase in the number of cases over a short period of time; the geographic
distribution of cases; any sustained (generational) transmission; the method of disease transmission;
morbidity and mortality associated with the disease; the effectiveness of contact tracing; the adequacy of
state and local healthcare systems; and the effectiveness of state and local public health systems and
control measures.” 173 Other factors noted in the Final Rule are the potential for disease spread among
persons held in congregate settings, the potential for disease spread to the community at large, and strain
on healthcare systems. 174

        CDC is committed to avoiding the imposition of unnecessary burdens in exercising its
communicable disease authorities. This aligns with the underlying legal authority in 42 U.S.C. § 265,
which makes clear that this authority extends only for such period of time deemed necessary to avert the
serious danger of the introduction of a quarantinable communicable disease into the United States. 175
Such an order must also be predicated, in part, upon a determination that the danger of such introduction
is so increased that a suspension of the right to introduce such persons into the United States is required
in the interest of public health. 176


171
    42 U.S.C. § 265; 42 C.F.R. § 71.40.
172
    85 Fed. Reg. 56424, 56425-26. The Director may suspend the introduction of persons not only to prevent the introduction
of a quarantinable communicable disease, but also to aid in continued efforts to mitigate spread of that disease.
173
    Id. at 56444.
174
    Id. at 56431; 56434.
175
    42 U.S.C. § 265; 42 C.F.R. § 71.40.
176
    42 C.F.R. § 71.40.

                                                            26
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 28 of 31 PageID #: 248


         CDC has considered these and other relevant factors in the foregoing determination, including
the overall shift in the U.S. government response to the pandemic, and has determined that less
restrictive means are available to avert the public health risks associated with the introduction,
transmission, and spread of COVID-19 into the United States due to the entry of covered noncitizens.
Although COVID-19 continues to spread within the United States, as a result of the numerous tools for
disease prevention, mitigation, and treatment which have become available over the past two years, and
the other considerations explained above, an order suspending the right to introduce covered noncitizens
under 42 U.S.C. § 265 is no longer required in the interest of public health.


IV.     Issuance and Implementation

        Based on the foregoing Public Health Determination, I hereby Terminate the August Order and
all previous orders issued pursuant to Sections 362 and 365 of the PHS Act (42 U.S.C. §§ 265, 268), and
their implementing regulations under 42 C.F.R. § 71.40. 177 This Termination will be implemented on
May 23, 2022.

        Following an assessment of the current epidemiologic status of the COVID-19 pandemic and the
U.S. government’s ongoing response efforts, I find there is no longer a public health justification for the
August Order and previous Orders issued under these authorities; employing such a broad restriction to
preserve the health and safety of U.S. citizens, U.S. nationals, and lawful permanent residents, and
personnel and noncitizens in POE and U.S. Border Patrol stations is no longer necessary to protect the
public health. Other current public health mitigation measures sufficiently reduce the serious danger of
introduction, transmission, and spread of the virus that causes COVID-19 as a result of the entry of
covered noncitizens, including in congregate settings where such noncitizens would otherwise be held
while undergoing immigration processing, including at POE and U.S. Border Patrol stations at or near
the U.S. land and adjacent coastal borders.

         Termination of the August Order is based on the current status of the COVID-19 pandemic and
the available public health mitigation measures. In making this determination, I have considered myriad
facts, including epidemiological information such as the viral transmissibility and asymptomatic
transmission of COVID-19, the epidemiology and spread of SARS-CoV-2 variants, the morbidity and
mortality associated with the disease for individuals in certain risk categories, COVID-19 Community
Levels, national levels of transmission and immunity, the availability and efficacy of vaccination and
treatments, as well as public health concerns with congregate settings at border facilities. While holding
noncitizens in congregate settings with limited options for COVID-19 mitigation is accompanied by
inherent risk, the overall public health landscape in the United States has changed such that the
justification for the August Order is no longer sustained.

        The COVID-19 pandemic is ongoing and appropriate public health mitigation measures must
continue to be applied. 178 Although it cannot be known how the spread of SARS-CoV-2 will change in
the future (e.g., due to the emergence of a new variant), CDC plans to rely on COVID-19 Community
Levels, among other factors, to inform how prevention measures may be used to minimize the impact of
177
    Control of Communicable Diseases; Foreign Quarantine: Suspension of the Right to Introduce and Prohibition of
Introduction of Persons into United States from Designated Foreign Countries or Places for Public Health Purposes, 85 Fed.
Reg. 56424 (Sept. 11, 2020).
178
    See supra note 105, indicating that the whole community can be safe only when [everyone] take[s] steps to protect each
other, even when the COVID-19 Community Level is low or medium.

                                                            27
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 29 of 31 PageID #: 249


COVID-19 on health and society, including at the U.S. borders. 179 To that end, CDC will continue to
assess the public health situation at the U.S. borders even after this Termination as part of its
comprehensive COVID-19 response. If, for example, there is a substantial change in the public health
situation with respect to the pandemic, such as due to new and particularly concerning SARS-CoV-2
variants, CDC could determine a new order under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 is
necessary. Any such determination would be based on the public health needs identified at that time.

      A.     Implementation of this Termination

        CDC is required by the Final Rule to consult with “all Federal departments or agencies whose
interests would be impacted by this order,” “as practicable under the circumstances. 180 CDC recognizes
that resumption of border operations under Title 8 authorities, and the need to put additional appropriate
COVID-19 mitigation measures in place, requires time to operationalize in a manner that protects the
health and safety of the migrants, workforce, and American communities. Based on DHS’
recommendation and in order to provide DHS time to implement operational plans for fully resuming
Title 8 processing, including incorporating appropriate COVID-19 measures, this Termination will be
implemented on May 23, 2022.

         DHS has represented that over the next several weeks it is taking important steps to implement
processes in preparation for the full resumption of border operations pursuant to Title 8 authorities, in a
manner that promotes the health and safety of migrants, CBP employees, and the local communities.
Most recently, DHS has initiated a vaccination program for all age-eligible migrants who lack legal
status and are processed pursuant to Title 8 authorities; this program will be scaled up over the next two
months. 181 As stated above, CDC recognizes vaccination as the single most important public health tool
for fighting COVID-19 and recommends that all eligible persons, regardless of citizenship, be
vaccinated and remain up to date with boosters. 182 The implementation timeline of this Termination will
provide DHS with time to scale its vaccination program, as well as ready its operational capacity,
implement appropriate COVID-19 protocols, and prepare for resumption of regular migration under
Title 8.

         CDC recognizes that the Termination of the August Order will lead to an increase in the number
of noncitizens being processed in DHS facilities which could result in overcrowding in congregate
settings. Moreover, DHS projects, based on available intelligence as well as seasonal migration patterns,
an increase in encounters in the coming months, which could lead to further crowding in DHS facilities.
DHS reports that it is taking steps to plan for such increases, including by readying decompression
plans, deploying additional personnel and resources to support U.S. Border Patrol, and enhancing its
ability to safely hold noncitizens it encounters. Putting such plans in place, ensuring that the workforce
is adequately and appropriate trained for their shifting roles, and deploying critical resources require
time. This Termination will be implemented on May 23, 2022, to provide DHS with additional time to
ready such operational plans and prepare for full resumption of regular migration under Title 8.



179
    Id.
180
    42 C.F.R. § 71.40.
181
    See supra I.B.5.
182
    In line with CDC’s emphasis on the importance of vaccination, CDC has kept its requirement for noncitizens to provide
proof of vaccination for air travel and also supports DHS’s Order requiring the same at the land borders (see supra notes 67
and 83).

                                                             28
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 30 of 31 PageID #: 250


        For the foregoing reasons, this Termination will be implemented on May 23, 2022. To the extent
that any state or local government has a misplaced reliance interest on the August Order, the timeline for
implementation of the Termination also allows time for such entities to adjust their planning in
anticipation of the full resumption of Title 8 border processing. During this temporary period of
continued application of the August Order, DHS will continue to exercise its discretion to issue case-by-
case exceptions based on the totality of the circumstances as set forth in the August Order. 183 DHS has
represented that it will continue to make use of this exception where, for example, a noncitizen may
suffer particular harms associated with expulsion (e.g., vulnerable and medically fragile persons) until
the Termination is effective.

      B.     APA Review

        This Termination shall be implemented on May 23, 2022. I consulted with DHS and other
federal departments as required by the Final Rule before I issued this Order and requested that DHS aid
in the implementation of this Termination. 184 DHS is developing operational plans for implementing this
Termination. CDC will review these plans and ensure that they are consistent with the language of this
Termination and public health best practices.

         This Termination, like the preceding Orders issued under this authority, is not a rule subject to
notice and comment under the Administrative Procedure Act (APA). 185 Even if it were, notice and
comment are not required because there is good cause to dispense with prior public notice and the
opportunity to comment on this Termination. 186 Given the extraordinary nature of an order under
Section 265, the resultant restrictions on application for asylum and other immigration processes under
Title 8, and the statutory and regulatory requirement that an CDC order under the authority last no
longer than necessary to protect public health, it would be impracticable and contrary to the public
interest and immigration laws that apply in the absence of an order under 42 U.S.C. § 265 to delay the
effective date of this termination beyond May 23, 2022 for the reasons outlined herein. 187 As explained,
DHS requires time to institute operational plans to implement this order, including COVID-19
mitigation measures, and begin regular immigration processing pursuant to Title 8. In light of the
August Order’s significant disruption of ordinary immigration processing and DHS’s need for time to
implement an orderly and safe termination of the order, there is good cause not to delay issuing this
termination or to delay the termination of this order past May 23, 2022. In addition, this Order concerns
ongoing discussions with Canada, Mexico, and other countries regarding immigration and how best to
control COVID-19 transmission over shared borders and therefore directly “involve[s] . . . a . . . foreign
affairs function of the United States;” 188 thus, notice and comment are not required.

183
    “Persons whom customs officers determine, with approval from a supervisor, should be excepted from this Order based on
the totality of the circumstances, including consideration of significant law enforcement, officer and public safety,
humanitarian, and public health interests. DHS will consult with CDC regarding the standards for such exceptions to help
ensure consistency with current CDC guidance and public health recommendations.” 86 Fed. Reg. 42828, 42841 (Aug. 5,
2021).
184
    42 U.S.C. § 268; 42 C.F.R. § 71.40(d).
185
    While this Termination is not a rule subject to notice and comment under the APA (5 U.S.C. § 553), the Office of
Information and Regulatory Affairs has determined that this is a major rule as defined by Subtitle E of the Small Business
Regulatory Enforcement Fairness Act of 1996, also known as the Congressional Review Act (CRA). 5 U.S.C. § 804(2). The
agency finds, for the reasons listed above, that good cause exists to make this rule effective on May 23, 2022, under 5 U.S.C.
§ 808(2).
186
    5 U.S.C. § 553(b)(3)(B).
187
188


                                                             29
Case 6:22-cv-00885-RRS-CBW Document 10-1 Filed 04/14/22 Page 31 of 31 PageID #: 251



        With this Termination, I hereby determine that the danger of further introduction, transmission,
or spread of COVID-19 into the United States from covered noncitizens, as defined in the August Order,
has ceased to be a serious danger to the public health and therefore the continuation of the August Order,
and all previous orders issued under the same authority, is no longer necessary to protect public health.
Nothing in this Termination will prevent me from issuing a new Order under 42 U.S.C. §§ 265, 268 and
42 C.F.R. § 71.40 based on new findings, as dictated by public health needs.

        In testimony whereof, the Director, Centers for Disease Control and Prevention, U.S.
Department of Health and Human Services, has hereunto set her hand at Atlanta, Georgia, this 1st day of
April, 2022.




Rochelle P. Walensky, MD, MPH
Director
Centers for Disease Control and Prevention




                                                   30
